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            23-7370(L)23-7463(XAP), 23-7614(XAP)
                   UNITED STATES COURT OF APPEALS
                       FOR THE SECOND CIRCUIT
                                __________________________

      PETERSEN ENERGIA INVERSORA, S.A.U., PETERSEN ENERGIA S.A.U.,
                                     Plaintiffs-Appellees-Cross-Appellants,
                                  v.
                         ARGENTINE REPUBLIC,
                                     Defendant-Appellant-Cross-Appellee,
                              YPF S.A.,
                                     Defendant-Conditional Cross-Appellant.
                               _____________________________

            On Appeal from the United States District Court for the
               Southern District of New York, No. 15-cv-2739
                               _______________________

         FINAL FORM OPENING AND RESPONSE BRIEF FOR
           PLAINTIFFS-APPELLEES-CROSS-APPELLANTS
                               ____________________________

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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Plaintiffs-Appellees-

Cross-Appellants state the following:

      Plaintiffs-Appellees-Cross-Appellants Petersen Energía Inversora, S.A.U.

and Petersen Energía, S.A.U. (together “Petersen”) are nongovernmental corporate

entities. Petersen Energía Inversora, S.A.U. is a Spanish corporation wholly owned

by Petersen Energía Inversora Holdings, S.A.U., a Spanish corporation that in turn

is wholly owned by Petersen Energía Inversora, S.A., a privately held Argentine

corporation. Petersen Energía, S.A.U. is a Spanish corporation wholly owned by

Petersen Inversiones Spain, S.A.U., a Spanish corporation that in turn is wholly

owned by Petersen Energía Inversora, S.A., a privately held Argentine corporation.

No public corporation owns 10% or more of the stock of either Petersen Energía

Inversora, S.A.U. or Petersen Energía, S.A.U.

      Plaintiffs-Appellees-Cross-Appellants Eton Park Capital Management, L.P.,

Eton Park Master Fund, Ltd., and Eton Park Fund, L.P. (together “Eton Park,” and

together with Petersen, “Plaintiffs”) are non-governmental entities that have no

parent corporations, and no public corporation owns 10% or more of the stock of

any of them.




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                                INTRODUCTION

      In the early 1990s, the Argentine Republic (“Argentina” or “the Republic”),

with a new president committed to free-market principles and privatization, decided

to privatize its crown jewel—the state-controlled energy company YPF S.A. (“YPF,”

and together with Argentina, “Defendants”)—to raise much-needed foreign capital.

To accomplish this objective, Defendants needed access to the New York Stock

Exchange (“NYSE”) along with other international markets. But Defendants had a

problem. Because of Argentina’s long history of defaults and economic nationalism,

would-be investors were skeptical that Argentina’s commitment to free markets

would last, and they needed extraordinary reassurances that they would be fully

protected if Argentina returned to its old ways and re-nationalized YPF.

      To address that problem, Defendants amended YPF’s Bylaws to provide clear

protections for would-be investors. The amended Bylaws required anyone obtaining

a specified stake in YPF, expressly including Argentina, to make a tender offer to

other shareholders at a price set by predetermined, backward-looking formulae that

would typically require an above-market offer. Defendants repeatedly touted those

extraordinary protections when marketing YPF’s shares to potential investors in the

United States, and that effort succeeded: YPF’s initial public offering (“IPO”) raised

billions of dollars, including $1.1 billion from NYSE-listed shares alone.
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      For nearly twenty years, those provisions worked as intended. YPF remained

in private hands, and parties (including one of Plaintiffs) who acquired significant

stakes complied with the tender-offer provisions. But after the election of a populist

president and YPF’s discovery of an enormous oil reserve, Argentina yielded to the

temptation to return to its old ways and retake majority control of YPF. On April 16,

2012, Argentina issued an executive decree seizing control of YPF from its then-

majority shareholder, followed a few weeks later by legislation formally

expropriating a majority stake in the company—all without honoring the Bylaws’

obligation to make a tender offer and respect the rights of YPF’s minority

shareholders. Argentina’s failure to honor that obligation was not some honest

mistake, but an extraordinarily clear breach of its equally clear promise: Argentina

publicly proclaimed that it had no intention of making good on its tender-offer

obligation (which it estimated would cost $11 billion to $14.5 billion), and would

not be “stupid” enough to “comply” with the Bylaws. That deliberate breach caused

Plaintiffs—the second- and third-largest holders of YPF stock—billions of dollars

in damages.

      Argentina does not seriously dispute that by failing to make a tender offer to

YPF’s minority shareholders, it breached its contractual obligations under the

Bylaws—nor could it, when it openly celebrated its deliberate breach in real time.

Instead, Argentina devotes most of its appellate argument to attempting to move this


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litigation to Argentina and strip Plaintiffs of their straightforward remedy for that

clear and flagrant breach after nine years of hard-fought litigation, including

Argentina’s earlier unsuccessful appeal, see Petersen Energía Inversora S.A.U. v.

Argentine Republic, 895 F.3d 194 (2d Cir. 2018) (“Petersen II”). It argues that

instead of bringing a breach-of-contract claim in a U.S. court for a contractual

tender-offer obligation that was owed and breached in the United States, Plaintiffs

were required to first seek a corporate resolution at a YPF shareholders’ meeting,

then file suit within three months in Buenos Aires, and then hold their YPF shares

until Argentina chose to formally take title to the expropriated shares (years after

Argentina seized control of those shares). Even then, Argentina says, Plaintiffs

would only be entitled to some portion of whatever compensation Argentina chose

to pay Repsol for Repsol’s expropriated shares, even though Plaintiffs’ shares were

excluded from the expropriation and their claims are for a separate breach of

obligations to minority shareholders. And if its efforts to start over in Argentina or

escape liability altogether fail, Argentina insists that Plaintiffs can only recover in

pesos, which lost some 95% of their value in the decade between Argentina’s breach

and final judgment as a result of Argentina’s policy choices.

      None of those unlikely assertions is correct under Argentine or New York law,

and none can be reconciled with the clear promise of a “compensated exit” that

Argentina made to investors in 1993 to entice them to invest over $1 billion in YPF’s


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IPO through the NYSE alone, id. at 200. Quite the opposite: If Argentina had told

its investors in 1993 what it is telling this Court now, no rational person would have

invested in YPF, and the IPO would have been an abject failure.

      The district court correctly rejected all of Argentina’s efforts to evade the

consequences of its flagrant breach—unsurprisingly, as this Court has already

effectively resolved a number of the issues on appeal against Argentina. After giving

Argentina not one but two chances to seek dismissal for forum non conveniens, the

district court properly weighed the relevant factors, and correctly recognized the

strong interest of the United States—attested to by the Solicitor General in

recommending denial of Defendants’ certiorari petitions—in providing a forum for

claims against foreign sovereigns who choose to engage in commercial activity here.

When investors, including a New York-based fund, invest in an NYSE-listed

company, and are injured by the breach of a contractual promise that was made to

solicit investments in New York and required performance in New York, the balance

tips strongly in favor of hearing their claims here. At the very least, the district court

plainly did not abuse its discretion in reaching that conclusion, and Argentina cannot

show the requisite substantial prejudice from litigation in this forum to prevail on

forum non conveniens post-trial. As for Argentina’s late-breaking international

comity argument, it was never raised as an independent basis for dismissal below,




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and it fails regardless given the absence of any parallel foreign proceedings and the

strong interests in hearing this case here.

      Argentina’s efforts to escape liability are numerous, but equally unavailing.

Its claim that Argentine law categorically bars enforcing corporate bylaws provisions

through breach-of-contract suits was contradicted by its own expert, and its claims

that damages are unavailable because the Bylaws provide a separate penalty for

Argentina’s breach or because Plaintiffs did not seek specific performance are

defeated by the plain text of the Argentine Civil Code. Its contention that its tender-

offer obligation was not triggered until it took formal title to the expropriated

shares—two years after seizing control over those shares—contravenes both the

Bylaws’ clear language and common sense, and would leave Argentina free to evade

its binding obligations by the simple expedient of delaying the formal transfer of

title. And its assertion that Argentine public law precludes Plaintiffs’ claims cannot

be squared with this Court’s prior recognition that Plaintiffs do not challenge the

expropriation itself in any way, but only Argentina’s separate breach of its distinct

contractual obligations, and the fact that the compensation Argentina paid Repsol

did not and could not include compensation for Plaintiffs’ separate contractual rights.

      The district court likewise correctly rejected Argentina’s efforts to reduce or

eliminate its damages award. Argentina’s cursory attacks on the district court’s

factual findings after trial regarding the date of breach and the court’s discretionary


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determination of the appropriate prejudgment interest rate are plainly meritless, and

its attempt to reduce the judgment by some 95% based solely on the fall in the value

of the Argentine peso over the last decade is wrong under both New York law and

basic economics. In fact, the district court made only two errors in the long course

of this litigation: in failing to follow this Court’s lead in recognizing YPF’s own

independent contractual obligation to enforce the Bylaws’ tender-offer provision, see

id. at 210, and in dismissing Plaintiffs’ distinct promissory estoppel claims.

      It is always appropriate to hold parties to their contractual promises—but

when it comes to foreign governments and international capital markets, it is

absolutely essential. Defendants’ promises here were not offhand remarks or casual

agreements. They were unusual—and unusually clear—commitments that were

necessary to give would-be investors comfort and to allow a foreign nation with a

checkered economic past to access U.S. capital markets and raise billions of dollars.

If those promises can be shrugged off with impunity, Plaintiffs will be injured in the

short run, but everyone—investors and foreign governments alike—will lose in the

long run. This Court should uphold Defendants’ clear promises and redress their

clear breaches.

                                 JURISDICTION

      The district court had jurisdiction under 28 U.S.C. §§1330 and 1367(a). It

entered final judgment on September 15, 2023. Argentina filed timely notices of



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appeal on October 10, 2023, and Plaintiffs filed timely notices of cross-appeal on

October 18, 2023. This Court has jurisdiction under 28 U.S.C. §1291.

                        STATEMENT OF THE ISSUES

      1. Whether the district court properly exercised its discretion in denying

Argentina’s motion to dismiss this case for forum non conveniens and the judgment

should stand in any event because Argentina suffered no substantial prejudice.

      2. Whether the district court properly exercised its discretion in declining to

dismiss this case on international comity grounds that Argentina never raised as an

independent basis for dismissal.

      3. Whether the district court correctly concluded that Plaintiffs’ claims for

damages incurred due to Argentina’s flagrant breach of its tender-offer obligations

under the Bylaws are cognizable as a matter of Argentine law.

      4. Whether the district court correctly calculated the damages that Argentina

owes Plaintiffs for breaching its obligations under the Bylaws.

      5. Whether the district court erred in granting summary judgment for YPF

despite YPF’s breach of its own independent contractual obligation to take action if

an acquirer violated the Bylaws’ tender-offer requirements.

      6. Whether the district court erred in dismissing Plaintiffs’ promissory

estoppel claims against Argentina and YPF.




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                          STATEMENT OF THE CASE

      Plaintiffs are former minority shareholders of YPF who have sued Argentina

and YPF for their flagrant breach of their contractual obligations under the YPF

Bylaws.    The district court (Preska, J.) denied Defendants’ attempt to claim

sovereign immunity under the Foreign Sovereign Immunities Act (“FSIA”) for their

breach of their contractual obligations, but dismissed Petersen’s promissory estoppel

claims as duplicative. SA1-47.      This Court affirmed the denial of sovereign

immunity, Petersen II, 895 F.3d 194, and the Supreme Court denied certiorari. The

district court granted summary judgment against Argentina but for YPF on liability,

SA89-152, held a bench trial on damages, and entered judgment against Argentina

awarding Plaintiffs approximately $16.1 billion in damages, SA188-91.

I.    Factual Background
      A.     Argentina and YPF Amend YPF’s Bylaws and Promise Investors
             Strong Tender-Offer Protections.
      YPF was founded in 1922 as the world’s first state-owned oil company. See

SA93. For decades, Argentina operated the company as a “politically managed,

government-owned monopoly” whose management and operation “generally

reflected broader Argentine political and social objectives rather than business

strategies designed to maximize the Company’s profitability.” JA507-08. Perhaps

unsurprisingly, government-run YPF lost money consistently and in large amounts.

YPF “lost more than $6 billion in the 1980’s,” JA1411, and by the early 1990s was


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“considered inefficient, antiquated and a bastion of bureaucratic gridlock,” JA1417.

Argentina’s economy was also in dire straits more broadly after decades of Peronist

policies. See JA1798-99. As a result, President Carlos Menem came to power in

1989 on a platform of reform and free-market principles and embarked upon an

ambitious privatization program—with the privatization of YPF through an IPO as

its cornerstone. See Petersen II, 895 F.3d at 199 & n.1.

      Convincing private investors to invest in YPF was no mean feat. Argentina

had a long history of political and financial crises, owing in large part to populist

economic policies that elevated internal political expedience over commitments to

foreign investors.    See JA1797-1800.       Accordingly, in light of Argentina’s

“checkered economic past” and “persistent economic ills,” private investors were

“very skeptical” of Argentina and viewed its economy as “not suitable for foreign

investment.” JA845.

      To overcome this extraordinary skepticism, Argentina and YPF undertook a

series of extraordinary steps to convince foreign investors—including NYSE

investors—that YPF would be an attractive and safe investment. See Petersen II,

895 F.3d at 199. Argentina was focused on raising capital from U.S. investors and

so offered YPF shares as American depositary receipts (“ADRs”) listed on the

NYSE. See id. ADRs are certificates that represent an ownership interest in foreign

securities, allowing investors to acquire equity in foreign companies through


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securities denominated in U.S. dollars on U.S. stock exchanges with the protections

of the U.S. exchanges and the regulatory oversight of the Securities and Exchange

Commission (“SEC”). See, e.g., Morrison v. Nat’l Australia Bank Ltd., 561 U.S.

247, 251 (2010). YPF’s ADRs were priced in U.S. dollars, and the deposit agreement

required Bank of New York Mellon as depositary to make distributions to NYSE

investors in U.S. dollars. JA522. 1

       More extraordinary and more relevant to this case, Argentina and YPF

amended YPF’s Bylaws before its 1993 IPO. Those Bylaws are “the contract

governing the relationship among YPF, Argentina (in its capacity as a shareholder),

and other YPF shareholders.” Petersen II, 895 F.3d at 199. To encourage foreign

investors to take part in the IPO, Argentina and YPF amended §7 and §28 of YPF’s

Bylaws “to incorporate protections for investors from (1) hostile takeovers and (2)

attempts by Argentina to renationalize the company.” Id.

       Under §7(d) of the amended Bylaws, it “shall be forbidden” for a shareholder

to acquire 15% or more of YPF stock—a scenario the Bylaws define as an

“acquisition of control”—without complying with §7(e) and §7(f) of the Bylaws.

JA651. Sections 7(e) and 7(f) in turn require shareholders who wish to acquire

control of such shares to comply with certain obligations, including making a tender



   1
    Following the IPO, YPF’s capital stock was divided into four classes, including
Class D shares sold to private investors. JA496.

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offer before taking control and adhering to any “additional or stricter requirements”

imposed by the jurisdictions and stock exchanges where YPF’s shares are listed—

including, therefore, SEC and NYSE requirements. JA652; see Petersen II, 895 F.3d

at 199.

      Section 7(f) also sets the price at which the tender offer must occur, setting

forth four different formulae and entitling minority shareholders to the “highest” of

the four different prices. JA654-55; see Petersen II, 895 F.3d at 199. As relevant

here, the “Formula D” provision establishes the per-share consideration as YPF’s

“net income per class D share during the last four complete fiscal quarters”

multiplied by “the highest price/income ratio for [YPF]” over the last two years.

JA655. Like the other §7(f) price formulae, Formula D incorporates a backward-

looking formula based on past market conditions to ensure that the acquirer cannot

“take steps to depress the stock price and reduce the cost of taking control of YPF,

which would erode the protection afforded by the tender-offer provisions.” JA1094.

Section 7(h) further provides that any shares acquired “in breach of” §7(e) and §7(f),

including the tender-offer requirement, “shall not grant any right to vote or collect

dividends or other distributions that [YPF] may carry out, nor shall they be computed

to determine the presence of the quorum at any of the shareholders’ meetings.”

JA657.




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      Section 28 specifically extends the requirements and sanctions of §7 to the

Argentine government, in the event of the kind of re-nationalization investors feared,

while setting certain government-specific thresholds for triggering the tender-offer

protections.    Titled “Provisions applicable to acquisitions by the National

Government,” §28 provides in relevant part:

      The provisions of subsections e) and f) of Section 7 … shall apply to
      all acquisitions made by the National Government, whether directly or
      indirectly, by any means or instrument, of shares or securities of [YPF],
      … if, as a consequence of such acquisition, the National Government
      becomes the owner, or exercises the control of, the shares of [YPF],
      which, in addition to the prior holdings thereof of any class of shares,
      represent, in the aggregate, at least 49% of the capital stock ….

JA674. Section 28(C) provides that the sanctions in §7(h) “shall be applied” to

Argentina “with no kind of limitation whatsoever,” unless “the acquisition in breach

of the provisions of Section 7 and [Section 28] has occurred gratuitously,” i.e.,

without intent to exceed the applicable acquisition thresholds, in which case the

sanction is limited to “the loss of the right to vote.” JA674-75.

      These provisions were “clearly designed” to “create a structure that would

give U.S. investors (and other investors as well) sufficient assurance that they would

invest in the Class D shares” notwithstanding Argentina’s unstable economic past.

JA881; see Petersen II, 895 F.3d at 199. In particular, these “shareholder protection

measures” in the amended Bylaws “promise[d] investors a compensated exit from

their ownership position in the firm if Argentina were to decide to renationalize


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YPF.” Petersen II, 895 F.3d at 200. Section 28 thus gave “special attention to the

acquisition of stock … by Argentina,” which addressed a principal fear of potential

investors and was thus “central to Argentina’s and YPF’s efforts” to convince foreign

investors to take part in the IPO “despite [Argentina’s] long history of prior defaults

and frequent disregard for the interests of foreign investors.” JA882.

       Argentina and YPF “touted these protections” for minority shareholders in the

IPO prospectus that YPF filed with the SEC. Petersen II, 895 F.3d at 200. In

particular, the prospectus repeatedly referred to the amended Bylaws, the tender-

offer requirement for acquisitions of control generally, and the applicability of that

requirement to the Argentine government specifically. JA501-02, JA511-13. These

provisions, emphasized in the prospectus and repeated in subsequent SEC filings for

years thereafter, were critical not only to the success of the IPO but also to ensuring

that future investors could purchase with confidence, knowing they were guaranteed

a “compensated exit” in the event of a re-nationalization. Petersen II, 895 F.3d at

200.

       “Argentina’s marketing efforts worked.”       Id. Through the sale of YPF

securities, Argentina “raised billions of dollars in investment capital,” with “the

largest share (more than $1.1 billion in total) coming from the sale of ADRs in the

United States on the NYSE.” Id. The protections afforded by the Bylaws were

“critical” to the IPO’s success, as Argentina “likely could not have achieved the


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valuation it did at the time of its IPO, or even completed the IPO itself, without

providing prospective investors with protections in the event that Argentina either

reverted to a nationalist agenda of maintaining state control or did not protect

minority investors from a change-of-control event.” JA842, JA859.

      B.    Plaintiffs Purchase YPF ADRs.
      Petersen (plaintiffs in No. 23-7370) and Eton Park (plaintiffs in No. 23-7376)

both became significant shareholders in YPF by purchasing NYSE-listed ADRs. By

the spring of 2012, Petersen and Eton Park were the second- and third-largest

investors in YPF, respectively. JA1899-1901.

      Between 2008 and 2011, Petersen purchased ADRs representing more than

100 million Class D shares of YPF—accounting for slightly more than 25% of YPF’s

outstanding Class D shares—in two separate acquisitions from YPF’s then-majority

owner, Spanish oil company Repsol S.A. (“Repsol”). See Petersen II, 895 F.3d at

200. In acquiring its shares, Petersen complied with YPF’s Bylaws, making a tender

offer in accordance with §7 in connection with crossing the 15% ownership

threshold. Id. Petersen’s equity owners contributed $110.1 million in cash to the

purchase, and financed the remainder with a consortium of major international

banks, depositing the YPF ADRs in a collateral account in New York. Id.; see

JA448. Argentina, as YPF’s Class A shareholder, approved the acquisitions, as did

Argentine regulators. See JA1801-02. Even then-Argentine President Cristina



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Kirchner—who later authorized YPF’s re-nationalization—spoke positively of

Petersen’s acquisition. See JA1363.

      Eton Park, a prominent New York-based investment fund, purchased ADRs

representing approximately 11.95 million Class D shares between late 2010 and

early 2012. SA96. Eton Park recognized the risks of investing in an Argentine

company, but was “reassured by the existence of [the] minority protection”

provisions in the Bylaws and YPF’s decision to list on the NYSE. JA1226-27.

      C.     Argentina Seizes a Majority Stake in YPF, and Argentina and YPF
             Breach Their Obligations Under the Bylaws Tender-Offer
             Provisions.

      In the fall of 2011, YPF announced the discovery of a major new oil field

known as Vaca Muerta. Argentina saw that discovery as a reason to return to its old

ways, and soon began a campaign to retake control of YPF (and the newly

discovered oil field) by depressing YPF’s share price and ultimately seizing a

majority stake in the company.

      On January 29, 2012, an Argentine newspaper closely allied with the

government reported rumors that Argentina was considering re-nationalization.

JA1402. Rumors continued for the next several months, with a predictably negative

effect on the value of YPF shares. On February 29, the Financial Times reported

that “[m]ounting fears” of greater government intervention had caused YPF’s shares

to “fall off a cliff, wiping more than $4 b[illio]n off YPF’s value in less than a week.”



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JA1420. Between January and April 2012, YPF’s share price fell from $35 to less

than $15. JA1219; see SA5.

      As would soon become clear, Argentina’s plans did not include honoring the

Bylaws. On February 21, 2012, Argentine Secretary of Energy Daniel Cameron sent

a memorandum to Roberto Baratta, the government’s appointed YPF board member,

that addressed “the magnitude of an eventual takeover of the company” and

“explore[d] the different forms of accessibility to the company.” JA1378, JA1380

(emphasis omitted).

      The “first possibility of acquiring control of” YPF, Cameron wrote, “would

be under the rules of its own bylaws,” which “implies moving forward with a stock

tender offer.”   JA1380. Cameron recognized that the Bylaws were “carefully

intended at the outset to defend its future minority shareholders,” and estimated that,

if Argentina made a tender offer and all shareholders tendered, Argentina would have

to pay “between 11 billion and 14.5 billion dollars.” JA1380-81. In Cameron’s

view, “this is not the path that will allow us greater possibilities.” JA1381. Instead,

he stressed, “[t]he only way to go is expropriation.” JA1381 (emphasis original).

That was so, he advised, even though the failure to make a tender offer would

“probably involve lawsuits.” JA1382.

      In a cover email, Cameron explained that, based on the memo’s analysis,

Argentina had “rejected the ... Stock Tender Offer” approach.           JA1373.    He


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recommended “to move toward an expropriation law ... with the acquisition of a

simple majority.” JA1373.

      On April 16, 2012, having already wiped billions of dollars from YPF’s

market value through press leaks, Argentina executed its plan to seize control. First,

the government issued Decree 530/2012, which appointed Julio De Vido,

Argentina’s then-Minister of Planning, Public Investment, and Services, as an

“Intervenor” to exercise the powers of YPF’s Board of Directors and President for

30 days (later extended for another 30 days). See Petersen II, 895 F.3d at 202.

Argentina simultaneously issued Decree 532/2012, which appointed Axel Kicillof,

then-Secretary of Economic Policy and Development Planning, as YPF’s Vice-

Intervenor. SA97. The Intervenor “seized control of YPF’s facilities, replaced top

management with government officials, and escorted YPF’s then-CEO off the

premises.” Petersen II, 895 F.3d at 202. The market immediately reacted, with YPF

shares “plummet[ing] by over 40%.” SA171.

      Argentine officials were “quick to declare that, despite having acquired

control of the company, Argentina and YPF had no intention of complying with the

tender offer provisions of YPF’s bylaws.” Petersen II, 895 F.3d at 202. On April

17, 2012—one day after the intervention—Kicillof, speaking as both Argentina’s

Secretary of Economic Policy and Development Planning and YPF’s new Vice-

Intervenor, told the Argentine Congress that Argentina and YPF would not honor the


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Bylaws terms that they had, for years, touted as protecting minority private investors.

Kicillof described as “fools ... those who think that the State has to be stupid and buy

everything according to the law of YPF itself, respecting its bylaws,” and dismissed

the tender-offer requirement as a “bear trap.” JA3693. Consistent with Kicillof’s

declaration, Argentina never made a tender offer, nor did it comply with the other

requirements of §7 and §28.        See SA97.     Likewise, YPF never enforced the

requirements and sanctions of §7 and §28 vis-à-vis Argentina.

      On May 3, 2012, consistent with Cameron’s proposal months earlier,

Argentina introduced legislation—Law 26,741—to expropriate 51% of YPF’s shares

from Repsol. See Petersen II, 895 F.3d at 202-03. The law passed the Argentine

Congress on the same day, and took effect four days later. Id. at 202. Beyond

designating 51% of YPF’s shares for expropriation, Law 26,741 explicitly provided

that “the Argentine Executive Branch shall ... exercise all rights carried by the stock

to be expropriated.” JA1433-34; see Petersen II, 895 F.3d at 203. The legislation

did not, however, override or modify the Bylaws. JA321. To the contrary, it

“provide[d] that YPF shall remain a publicly-traded company after the

expropriation.” Petersen II, 895 F.3d at 208.




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II.      Procedural History

         A.    The District Court Denies Defendants’ Motions to Dismiss and This
               Court Affirms.

         Within days, Repsol filed a putative class action on behalf of all private

shareholders against Argentina in New York for breaching §7 and §28 of the Bylaws.

Repsol v. Republic of Argentina, No. 12-cv-3877 (S.D.N.Y. filed May 15, 2012).

Plaintiffs were members of that putative class; however, Repsol individually settled

with Argentina and voluntarily dismissed that suit in May 2014, before the class was

certified.

         Petersen filed suit against Defendants in May 2015, alleging breach of

contract, promissory estoppel, and breach of the implied duty of good faith. JA133-

62. Defendants moved to dismiss based on a host of grounds, including FSIA

immunity, the act-of-state doctrine, forum non conveniens, and failure to state a

claim.

         The district court denied the motion in substantial part. As to forum non

conveniens, it applied this Court’s three-step inquiry, considering (1) “the degree of

deference owed to the plaintiff’s choice of forum,” (2) “whether the defendant’s

proposed forum is adequate,” and (3) “whether the balance of private and public

interest weighs in favor of the alternative forum.” SA30. It explained that while

“deference to Plaintiffs’ choice of forum is not at its greatest height,” Argentina was

not an adequate alternative forum in light of the “well-founded fear of prosecution


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of [Plaintiffs’] counsel” if Petersen sought to pursue this case in Argentina. SA31-

33.   In fact, Argentina had already “announced the initiation of criminal

proceedings” against Plaintiffs’ counsel and litigation funder for participating in

another international arbitration against Argentina, and Argentina’s then-Attorney

General had specifically declared that this case “raised similar concerns.” SA9. The

court found that Argentina had not shown the balance of private and public interests

tilted strongly in favor of dismissal, given that both New York and Argentina “have

an interest in adjudicating this dispute,” and that the mere “need to apply foreign

law” was not a sufficient “justification for dismissal.” SA36.

      While denying most of Defendants’ motion, the court did dismiss Petersen’s

promissory estoppel claims.     The court recognized Petersen’s allegations that

Defendants repeatedly “promised that Argentina would not retake control of YPF

without making a tender offer,” including in YPF’s “IPO Prospectus, SEC filings,

and other documents,” and that Petersen “foreseeably and justifiably relied on that

promise.” SA45-46. But the court nevertheless dismissed the promissory estoppel

claims as “duplicative of the breach of contract claims,” on the theory that the

complaint did not identify any promise “distinct from the obligations imposed by the

Bylaws.” SA46.

      Defendants took an interlocutory appeal of the district court’s FSIA and act-

of-state holdings, and this Court affirmed the FSIA holding and dismissed the act-


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of-state appeal. Petersen II, 895 F.3d at 198-99. This Court explained that Argentina

was not entitled to FSIA immunity because the claims against it are “‘based on’

Argentina’s breach of a commercial obligation”: namely, its “obligation under

section 28(A) of YPF’s bylaws to make a tender offer for the remainder of YPF’s

outstanding shares,” which Argentina triggered when it expropriated a majority stake

in YPF from Repsol. Id. at 207. “That obligation and Argentina’s subsequent

repudiation of it,” this Court concluded, “were indisputably commercial in nature,”

and so Argentina could not claim FSIA immunity for that commercial breach. Id.

As to YPF, this Court concluded that its “obligation to enforce the tender offer

provision triggered by Argentina’s expropriation” was likewise “commercial in

nature.” Id. at 210. After calling for the views of the Solicitor General, the Supreme

Court denied Defendants’ request for further review. See 139 S.Ct. 2741 (2019).

      Meanwhile, Eton Park, another member of the putative class in Repsol’s

action, filed suit against Argentina and YPF in November 2016. JA421-46. The

district court designated Petersen’s and Eton Park’s actions as related, and they

have since proceeded in tandem.

      B.     The District Court Denies Defendants’ Renewed Motion to Dismiss
             for Forum Non Conveniens.
      Back in district court, Defendants filed a renewed motion to dismiss for forum

non conveniens.     SA48. The court again denied the motion, explaining that

Defendants’ arguments did “little to alter the Court’s original analysis.” SA50. First,


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the court explained that deference was warranted to Plaintiffs’ choice of forum,

particularly as “this litigation plainly has a bona fide (and significant) connection to

New York” given that Eton Park’s claims “arose from New York-based traders—

acting on instructions from a New York-based investment firm—purchasing shares

of YPF stock that were advertised to New York-based investors and sold (through

ADRs) on the New York Stock Exchange.” SA65-66. Second, because Argentina

had dismissed its criminal investigation into Petersen’s counsel and litigation funder

(and despite a new investigation in connection with this very case), SA69-70, the

court accepted that Argentina would qualify as an adequate alternative forum, while

noting that doing so “would not affect the overall outcome of the Court’s forum non

conveniens analysis.” SA74-75.

      Third, the court concluded that the relevant public and private interests “weigh

heavily in favor of litigation in New York,” particularly the “very strong” interests

of the United States and New York in adjudicating claims against entities that

“affirmatively sought out investors in New York and induced them to buy a stake in

YPF through YPF ADRs listed on the NYSE.” SA84-85, 87. The court rejected

Defendants’ argument that Argentine law assigned exclusive jurisdiction over this

case to the Argentine courts, explaining that Defendants’ own expert Professor

Cabanellas acknowledged that the relevant provision merely “determines which

court within Argentina has jurisdiction,” and does not purport to address foreign


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courts’ jurisdiction.   SA82.   The court also rejected Defendants’ reliance on

international comity—a consideration that Defendants raised only in support of

forum non conveniens, not as an independent basis for dismissal—explaining that

Defendants had not shown “the exceptional circumstances[] required for such

relief,” and that in any event the “untold amounts of time and money” that the parties

had spent litigating in this forum would make dismissal on comity grounds

“woefully inefficient.” SA87 n.15.

      C.     The District Court Grants Summary Judgment Against Argentina
             on Liability and Grants Summary Judgment for YPF.
      After extensive discovery, the parties each moved for summary judgment.

The district court granted summary judgment for Plaintiffs against Argentina on

liability, but granted summary judgment for YPF.

      As the court explained, the “key facts [we]re not in serious dispute.” SA102.

Defendants “d[id] not dispute that Sections 7 and 28 of YPF’s Bylaws, on their face,

required that [Argentina] make a tender offer upon acquisition of more than 49% of

YPF’s capital stock,” that Argentina acquired control of 51% of YPF’s capital stock,

and that it “failed to make the tender offer called for by the Bylaws.” SA102-03. In

fact, Argentina barely challenged “the merits or substantive elements of Plaintiffs’

breach of contract claim.” SA104. The court accordingly had little difficulty

concluding that Plaintiffs had satisfied all the elements of their breach-of-contract

claim against Argentina. See SA122-24.


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      The court likewise rejected all of Argentina’s attempts to escape liability for

that straightforward contractual breach.       First, the court rejected Argentina’s

argument that Plaintiffs had no claim because they no longer held their YPF shares

when Argentina formally acquired title to the expropriated shares (in 2014) and when

Plaintiffs brought suit (in 2015 and 2016). Under both Argentine law and New York

law, the court explained, what mattered was that Plaintiffs held their shares when

Argentina breached its tender-offer obligations in 2012; they were not required to

keep holding their shares in perpetuity to recover. SA114-22.

      Second, the court rejected Argentina’s argument that Plaintiffs’ claims failed

because Argentine law does not allow one shareholder to sue another for breaching

corporate bylaws. As the court explained, the tender-offer provisions in the YPF

Bylaws created bilateral contractual obligations under which Argentina “promised

security holders that it would provide them with a compensated exit” if it reacquired

control of YPF—an obligation that “could as easily have been created via a

shareholder agreement or a simple contract.”         SA126.     That this contractual

obligation “is contained in the Bylaws does not change its nature,” and does not

affect Plaintiffs’ ability to sue Argentina for breaching that obligation. SA126. The

court likewise rejected Argentina’s arguments that Plaintiffs should be limited to the

remedies provided by Argentina’s General Corporations Law, the consequences

outlined in the Bylaws for shares acquired in violation of the tender-offer provisions,


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or a claim for specific performance. SA126-34. And the court rejected Argentina’s

arguments that its General Expropriation Law barred Plaintiffs’ claims, explaining

that holding Argentina to its contractual commitments did not impermissibly

“impede [the] expropriation or its effects.” SA136-41.

      Finally, the court rejected a “series of legal arguments” that Argentina raised

“in an effort to reduce or eliminate Plaintiffs’ damages,” including that the damages

should be determined in Argentine pesos as of the judgment date. SA146-50. Its

decision left only two issues to resolve in a brief damages trial: (1) whether

Argentina first acquired control of the expropriated shares (and so breached its

tender-offer obligations under the Bylaws) on April 16, 2012, when it issued its

executive intervention decree, or only on May 7, 2012, when the expropriation law

went into effect; and (2) what prejudgment interest rate should apply. SA144-46,

150-51.

      The court also granted summary judgment for YPF. The court acknowledged

this Court’s previous statement in Petersen II that YPF had a contractual “obligation

to enforce the tender offer provision,” in keeping with the general principle that

“every corporation is obligated to abide by its bylaws.” 895 F.3d at 210; see SA108.

The district court, however, viewed that statement as “not a binding conclusion.”

SA108. Instead, it viewed the Bylaws’ “use of passive voice when establishing the

tender offer requirement” as indicating that YPF had no duty to enforce that


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provision. SA110. The court recognized Plaintiffs’ argument that this interpretation

would mean the Bylaws “would leave nobody to enforce the relevant provisions”

despite their unambiguously mandatory language, but it found that concern

adequately addressed by Argentina’s contractual liability for its own breach. SA112.

The court was unpersuaded by the conflict between its prior dismissal of the

promissory estoppel claim against YPF as “duplicative” of the breach-of-contract

claim, see SA45-46—a ruling premised on the existence of a valid contractual

obligation—and its subsequent holding that YPF had no such contractual obligation

after all. SA112-13 & n.6.

      Argentina sought reconsideration, submitting with its reply a new advisory

opinion that it had “solicit[ed]” from a judge on its National Court of Appeals for

Commercial Matters to critique the district court’s decision. SA159-61 & nn.2-3.

The district court rejected that “improper” and “belated” opinion and denied

reconsideration in relevant part. SA160-62.

      D.     The District Court Holds a Damages Trial and Enters Judgment.

      To resolve the remaining contested issues—the exact date on which Argentina

had breached its Bylaws obligations, and the proper rate of prejudgment interest—

the district court held a three-day trial in July 2023, where it heard testimony from

multiple expert witnesses on Argentine law and extensive arguments from counsel.

Argentina emphasized at trial—as it does in this Court, see, e.g., Arg.Br.4—the size



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of the damages required by the Bylaws’ tender-offer formula. But even as the trial

was being held, YPF’s chairman publicly boasted that the company’s massive oil

and gas reserves would enable Argentina to pay the potential judgment “with one

annual EBITDA” and still have “150 years of gas reserves,” making the

expropriation “a good decision” and “we would do it again.” JA3650-52.

      The district court issued its decision on September 8, 2023, determining that

Argentina had “exercised indirect control” over the expropriated shares on April 16,

2012, the date on which it “took control of YPF … via the Intervention Decree” and

thereby “deprived Repsol [the former majority shareholder] of control over its

shares.” SA165; see SA166-68. The court also exercised its discretion to select a

prejudgment interest rate of 8% simple interest, a rate “well within the range

imposed by Argentine [c]ourts” and warranted by Argentina’s decision “knowingly

to violate the bylaws” and to “force Plaintiffs to be its involuntary creditors for a

massive amount over the course of a decade.” SA172, 174-76.

                          SUMMARY OF ARGUMENT

      Argentina and YPF made clear promises to NYSE investors, and just as

clearly broke those promises by doing what investors feared most and brazenly

dismissing their legal obligations. The district court correctly held Argentina liable

for its deliberate breach of its contractual obligations, and correctly awarded

Plaintiffs the full measure of their damages. While the damages award is large, it



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reflects the enormity of the breach and has only two components: the precise amount

Argentina promised to pay, and interest to account for the reality that Argentina

promised to pay over a decade ago. Each of Argentina’s numerous attacks on the

decision below is meritless.

      Argentina starts by asking this Court to rely on the discretionary doctrine of

forum non conveniens to undo some nine years of litigation in the federal courts, all

the way through trial and final judgment, and force the parties to start over from

scratch in the Argentine courts. That argument fails at the threshold, as Argentina

comes nowhere near making the requisite showing of substantial prejudice. And that

argument fails on the merits as well, as the district court properly balanced the

relevant factors—including the involvement of Eton Park, a New York plaintiff—

and was well within its discretion to conclude that they tipped strongly in favor of

deciding this case here. That is especially true in light of the United States’ strong

interest (acknowledged by the Solicitor General) in allowing claims against foreign

sovereigns who solicit investment in the United States, and New York’s equally

strong interest in regulating promises to NYSE investors. As for Argentina’s late-

breaking international comity argument—which Argentina failed to assert as a

standalone ground for dismissal below—it is not only forfeited, but depends on a

sweeping approach to international comity abstention that this Court has never




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adopted and that contravenes the virtually unflagging obligation of the federal courts

to exercise the jurisdiction granted by Congress.

      Argentina fares no better in its attempts to deprive Plaintiffs of a remedy for

Argentina’s clear breach of its contractual obligations. Despite Argentina’s efforts

to mystify Argentine contract law, the elements are not meaningfully different from

the familiar elements from first-year Contracts class stateside, as Argentina

conceded below. Argentina argues for the first time that even if some bylaws

provisions can give rise to a breach-of-contract claim, as its expert conceded, the

particular provision at issue here does not. That argument is not only forfeited, but

plainly meritless. As the district court explained (and Argentina does not

meaningfully dispute), the tender-offer provision here involved specific promises

that could just as easily have been made in a shareholder agreement or a simple

contract, and they are no less binding just because Argentina chose to put them in

the Bylaws instead. The district court also correctly rejected Argentina’s attempts to

limit Plaintiffs to a (largely illusory) specific-performance remedy. Section 7(h) of

the Bylaws—which does not mandate any substitute performance by Argentina—is

not a penalty clause and does not disentitle shareholders to the recovery promised

by the elaborate pricing formulae in the Bylaws, especially given Argentina’s willful

breach. Nor were plaintiffs required to seek specific performance rather than

damages; Article 505 of the Civil Code imposes no such requirement, and in any


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event any demand for specific performance would have been futile in light of

Argentina’s open repudiation of its obligations.

      Argentina’s other liability arguments are equally meritless. Its claim that it

did not breach the Bylaws until it took formal title to the expropriated shares

contravenes the Bylaws’ clear text and common sense, and would let Argentina

eviscerate its tender-offer promise by the simple expedient of delaying the formal

transfer of title. And its argument that Article 28 of the General Expropriation Law

bars Plaintiffs’ claims is impossible to reconcile with the simple fact that, as this

Court has already recognized, Plaintiffs do not challenge the expropriation itself in

any way or assert any interest in the expropriated shares. Because Plaintiffs’ claims

challenge only Argentina’s separate breach of its distinct contractual obligations—

which would have been equally triggered if Argentina had bought Repsol’s shares

on the open market rather than expropriating them—they are unaffected by Article

28.

      As to damages, Argentina opens with a bold attempt to deflate its damages

bill based on the dramatic decline in the Argentine peso over the last decade (due to

Argentina’s own inflationary policies), arguing that the court should have calculated

the damages award using the exchange rate on the judgment date. But as New York

law makes clear, the judgment-date exchange rate applies only to obligations

denominated in a foreign currency—and here, the tender-offer obligation was a


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performance obligation, not a payment obligation denominated in pesos (or any

other foreign currency). In fact, the Bylaws and established practice make clear that

Argentina was required to offer dollars for Plaintiffs’ ADRs, and Plaintiffs would

have been paid in dollars in 2012 when they tendered. Argentina accordingly cannot

rely on its decade-long devaluation of its currency—and its efforts to prolong this

litigation nearly as long—to attempt to eliminate 95% of its damages. Its cursory

challenges to the district court’s factual findings regarding its breach date and

discretionary choice of prejudgment interest rate are likewise in vain, as the court

clearly and correctly explained both its conclusion that Argentina controlled the

expropriated shares as of the intervention and its determination that the interest rate

it chose was appropriate and equitable.

      In the end, Argentina’s liability is as clear as its breach, and the only errors in

the proceedings below involved letting YPF off the hook entirely and eliminating

Plaintiffs’ promissory estoppel claims. First, the court erred by failing to recognize

YPF’s own contractual obligation under its Bylaws to enforce the tender-offer

provision against Argentina. Second, the court also erred by dismissing Plaintiffs’

promissory estoppel claims, which would provide an independent basis for liability

if Defendants could somehow avoid liability for breach of contract. This Court

should reverse on those points and affirm the rest of the judgment.




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                            STANDARDS OF REVIEW

      A decision denying dismissal for forum non conveniens is reviewed for abuse

of discretion, see Olin Holdings Ltd. v. Libya, 73 F.4th 92, 109 (2d Cir. 2023), and

will not be reversed after trial absent substantial prejudice, Indasu Int’l, C.A. v.

Citibank, N.A., 861 F.2d 375, 380 (2d Cir. 1988). A decision on dismissal for

international comity is likewise reviewed for abuse of discretion. Royal & Sun All.

Ins. Co. of Can. v. Century Int’l Arms, Inc., 466 F.3d 88, 92 (2d Cir. 2006). Decisions

granting dismissal for failure to state a claim or summary judgment are reviewed de

novo. Ezrasons, Inc. v. Travelers Indem. Co., 89 F.4th 388, 394 (2d Cir. 2023), In re

Trib. Co. Fraudulent Conv. Litig., 10 F.4th 147, 159 (2d Cir. 2021). A district court’s

legal conclusions, including on issues of foreign law, are reviewed de novo, Animal

Sci. Prods., Inc. v Hebei Welcome Pharm. Co., 585 U.S. 33, 42 (2018), and its factual

findings are reviewed for clear error, Sleepy’s LLC v. Select Comfort Wholesale Grp.,

909 F.3d 519, 527 (2d Cir. 2018).

                                    ARGUMENT
I.    The District Court Correctly Rejected Argentina’s Attempt To Force
      Plaintiffs To Litigate This Case In Argentina.

      The federal courts have now dedicated some nine years to this litigation,

including motions to dismiss, a prior appeal to this Court, certiorari-stage briefing at

the Supreme Court, discovery, extensive summary judgment briefing, trial on

damages, and final judgment. Argentina does not like that the district court found a


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breach and awarded the damages and interest plainly contemplated by the Bylaws,

but it does not (and cannot) claim that there was anything fundamentally unfair about

all those proceedings. Nevertheless, Argentina asks this Court to cast aside the

“untold amounts of time and money” the parties have spent litigating to final

judgment here, SA87 n.15, and to force the parties to start over from scratch in

Argentina’s courts instead. That request is meritless. The district court properly

concluded that the relevant interests here “weigh heavily in favor of litigation in

New York,” SA86, and Argentina provides no sound reason for disturbing that

judgment on either forum non conveniens or international comity grounds.

      A.     The District Court Correctly Rejected Argentina’s Forum Non
             Conveniens Arguments.

      To reverse on forum non conveniens grounds after trial and final judgment,

Argentina must show not only that the district court abused its discretion, see Olin

Holdings, 73 F.4th at 109, but also that Argentina suffered “substantial prejudice” as

a result, Indasu, 861 F.2d at 380; see, e.g., Yukos Cap. S.A.R.L. v. Samaraneftegaz,

592 F.App’x 8, 9 (2d Cir. 2014); Zelinski v. Columbia 300, Inc., 335 F.3d 633, 643

(7th Cir. 2003) (“great prejudice”); McLennan v. Am. Eurocopter Corp., 245 F.3d

403, 423-24 (5th Cir. 2001) (same). Argentina’s arguments come nowhere near

clearing those hurdles.

      1. As an initial (and dispositive) matter, Argentina cannot show any

“substantial prejudice” from the district court’s decision to try this case in New York.


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Indasu, 861 F.2d at 380. Argentina does not and cannot claim that any “key evidence

or witnesses were unavailable during trial” in this forum, or that it “did not receive

a fair trial because of the forum’s animosity or prejudice,” or any other serious

prejudice from having to litigate this case here. In re Air Crash Disaster Near New

Orleans, 821 F.2d 1147, 1168 (5th Cir. 1987), vacated on other grounds sub nom.

Pan Am. World Airways, Inc. v. Lopez, 490 U.S. 1032 (1989); see Indasu, 861 F.2d

at 380 (citing Air Crash, 821 F.2d at 1168); Yukos, 592 F.App’x at 9. That failure to

show substantial prejudice is itself sufficient to doom Argentina’s forum non

conveniens argument.

      Argentina’s only attempt to meet the substantial prejudice requirement—

which its amici ignore entirely and Argentina tellingly relegates to a single

paragraph—is to complain that the district court was less familiar with Argentine

law than the Argentine courts. Arg.Br.36-37. That generic complaint comes

nowhere near the concrete evidence of missing testimony or deep-seated bias that

courts have deemed necessary to warrant upsetting a final judgment on forum non

conveniens grounds. See, e.g., Air Crash, 821 F.2d at 1168; Yukos, 592 F.App’x at

9 (no substantial prejudice where the movant did not show “what testimony [the

missing witness] might have given or how that testimony might have affected the

case’s outcome”). Indeed, accepting Argentina’s argument would largely eviscerate

the substantial prejudice requirement, as a defendant can always claim that foreign


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courts will know foreign law better than their U.S. counterparts. That is plainly

insufficient to warrant the “woefully inefficient” result of dismissal on forum non

conveniens grounds after the parties have spent “untold amounts of time and money”

litigating to final judgment. SA87 n.15.

      2. In any event, the district court did not abuse its discretion in denying

Argentina’s motion to dismiss on forum non conveniens grounds. As Argentina

concedes, the district court applied the correct legal framework—namely, the three-

step inquiry set out in Iragorri v. United Technologies Corp., 274 F.3d 65 (2d Cir.

2001). SA62; see Arg.Br.30. None of Argentina’s challenges to the district court’s

application of that standard shows any abuse of discretion.

      a. At the first step, the district court correctly concluded that “heightened

deference” was due to Plaintiffs’ decision to bring suit in New York, where Eton

Park “is at home” and “has maintained its principal place of business.” SA64; see

Iragorri, 274 F.3d at 71. As the court explained, Eton Park’s claims “arose from

New York-based traders—acting on instructions from a New York-based investment

firm—purchasing shares of YPF stock that were advertised to New York-based

investors and sold (through ADRs) on the New York Stock Exchange,” showing that

this litigation has “a bona fide (and significant) connection to New York.” SA66.

Even as to Petersen alone, the court recognized that while deference to its choice of

forum was “not at its greatest height,” that does not mean it “receives no deference.”


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SA63, 64 n.5; see, e.g., Murray v. British Broad. Corp., 81 F.3d 287, 290 (2d Cir.

1996); R. Maganlal & Co. v. M.G. Chem. Co., 942 F.2d 164, 168 (2d Cir. 1991)

(foreign plaintiff’s choice of forum “is entitled to some weight”).

      Neither of Argentina’s attacks on that analysis is persuasive. First, Argentina

contends that Eton Park’s choice of its home forum is “irrelevant,” because Petersen

brought suit in New York first. Arg.Br.30-31. But the fact that both Petersen (whose

choice of forum receives “some weight,” Murray, 81 F.3d at 290) and Eton Park

(whose choice of forum receives “substantial deference,” SA65) chose to bring suit

in New York only strengthens the case for deferring to their choice. And contrary to

what Argentina suggests, Arg.Br.30-31, Eton Park was hardly a johnny-come-lately

in the district court for forum non conveniens purposes. Indeed, the actual first-filed

suit was Repsol’s 2012 putative class action, which included both Petersen and Eton

Park as putative class members and was also filed in the Southern District of New

York, underscoring that you cannot raise capital on the NYSE and then express

surprise when you are sued in the SDNY. See SA179-80; supra p.19. Given that

context, Eton Park’s decision to sue in its home forum—where Petersen’s suit was

pending and had already survived one forum non conveniens motion—plainly does

not suggest the kind of “blatant gamesmanship” that might warrant “reduced

deference.” Otto Candies, LLC v. Citigroup, Inc., 963 F.3d 1331, 1345 (11th Cir.

2020).


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      Second, Argentina argues that even if Eton Park’s strong ties to New York

warranted trying its suit here, the district court should have “analyzed the cases

separately” and dismissed Petersen’s. Arg.Br.31-32. Argentina never raised that

argument below, with good reason: It would be beyond absurd to force the parties

to litigate these near-identical cases in different countries. See Otto Candies, 963

F.3d at 1345 (forcing cases to proceed in two forums would “defeat the purpose of

forum non conveniens”). And if the Eton Park suit properly belongs in New York,

Argentina could not begin to show the requisite substantial prejudice from litigating

the same basic suit vis-à-vis Petersen here. Regardless, looking at Petersen’s case

alone produces the same result: Petersen’s choice of forum is entitled to “some

weight”—especially since Petersen purchased NYSE-traded ADRs, deposited them

in a New York collateral account, lost them in a New York foreclosure when

Defendants breached, and filed suit after a class action in New York where it was a

putative class member was voluntarily dismissed—and Argentina has not shown that

the remaining factors warrant disturbing “the presumption in favor of [Petersen’s]

choice.” Maganlal, 942 F.2d at 168; see SA30-37 (denying forum non conveniens

dismissal as to Petersen alone); SA50 (subsequent events “do little to alter the

Court’s original analysis”).

      b. Argentina also shows no abuse of discretion in the district court’s

conclusion that the balance of public and private interests “weigh[s] heavily in favor


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of litigation in New York.”        SA87.        As the federal government noted in

recommending denial of Defendants’ previous certiorari petitions, the United States

has a “strong interest … in ensuring that foreign states that enter U.S. markets as

commercial actors do not enjoy immunity from lawsuits regarding violations of their

commercial obligations.” SA83. Likewise, New York has a “considerable interest”

in adjudicating claims that Defendants “affirmatively sought out investors in New

York and induced them to buy a stake in YPF through YPF ADRs listed on the

NYSE.” SA84. The district court reasonably concluded that these “compelling

reasons” outweighed any factors favoring litigating this case in Argentina, SA83—

and that conclusion is all the more persuasive now, when dismissal would undo years

of work litigating this case to final judgment.

      Argentina’s contrary arguments show at most that it weighs the relevant

factors differently, not that the district court abused its discretion. First, Argentina

contends the district court should have given more weight to the fact that this case

involves Argentine law. Arg.Br.32-34. But the district court did consider that fact,

see SA85-86; it just refused to find it conclusive, recognizing that courts must “guard

against an excessive reluctance to undertake the task of deciding foreign law,” which

is “a chore federal courts must often perform.” Manu Int’l, S.A. v. Avon Prods., Inc.,

641 F.2d 62, 67-68 (1981); see SA85. In fact, as the district court predicted and as

explained in more detail below, the issues of Argentine law in this case are relatively


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straightforward—and as the district court also predicted, “the high quality of the

parties’ expert submissions” gave it “a more than adequate basis to inform itself and

reach a decision on any potentially thorny issues.” SA86.2

       Second, Argentina asserts that the district court did not adequately credit

Argentina’s “statutorily expressed interest” in having corporate disputes heard where

the corporation is headquartered. Arg.Br.34-35. But as the district court explained,

the statute Argentina cites “does not speak to international jurisdiction” or “purport

to address the ability of foreign courts” to hear these claims. SA82. Instead, as

Argentina’s own expert Professor Cabanellas acknowledged, that statute merely

“determines which court within Argentina has jurisdiction … within the Argentine

jurisdictional system.”     SA82 (ellipsis original) (emphasis added).           Because

Argentine law “does not itself require a forum in Argentina,” it follows that

“Defendants’ interests in litigating there are greatly lessened.” SA83. Regardless,

the district court did acknowledge Argentina’s “policy interest” in having its

corporate disputes litigated in Argentine courts, and found it “entitled to some

weight,” SA83; the court just found the countervailing interests in allowing this




   2
      While the district court later noted that it had “decided issues of first impression
and questions of Argentine law,” it did not specify that the Argentine law questions
(as opposed to U.S. and New York law) were novel or suggest any lack of confidence
in its rulings. JA3934 (emphasis added). On the contrary, the court explicitly noted
that it was “dubious that the Republic will succeed on appeal.” JA3934.

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litigation to proceed here more persuasive, a reasonable determination that was well

within its discretion.

      As to those countervailing interests, the district court did not abuse its

discretion in finding “compelling reasons for litigating this case in the United States

and specifically in New York.” SA83. As the court explained—and Argentina fails

to mention—the United States has already informed the Supreme Court in this very

case of its significant interest in “ensuring that foreign states that enter U.S. markets

as commercial actors do not enjoy immunity from lawsuits regarding violations of

their commercial obligations.” SA83. That interest was “already substantial” based

on Petersen’s suit alone, and “has indubitably been heightened” now that Eton Park

(headquartered in New York) is also involved. SA83-84. For similar reasons, “New

York specifically has a considerable interest in hosting this litigation,” given its

“strong interest in policing activities directed toward its stock markets.” SA84.

      Argentina notes that this case is not “a U.S. securities action.” Arg.Br.35. But

no one ever said otherwise, and the district court was more familiar than anyone with

the claims here, which remained materially unchanged throughout the litigation. As

the district court explained, New York has a strong interest in hearing suits against

defendants who “affirmatively sought out investors in New York and induced them

to buy a stake in YPF through YPF ADRs listed on the NYSE,” regardless of whether

the underlying claims are brought under the federal securities laws. SA84. Through


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their “aggressive marketing tactics,” Argentina and YPF deliberately induced

investors to invest over $1 billion in YPF through the NYSE by trumpeting the

protections that the Bylaws promised minority shareholders if Argentina decided to

retake control. SA84. The United States and New York have a compelling interest

in providing a forum for claims alleging that those contractual promises were

breached. Weighing all the relevant factors together, the district court did not abuse

its discretion in concluding that the balance of private and public interests tips

“heavily in favor of litigation in New York.” SA87.

      B.     Argentina’s Late-Breaking Attempt to Seek Dismissal on
             International Comity Grounds Is Forfeited and Meritless.

      Argentina next contends that the district court should have “independently”

dismissed this litigation under “principles of international comity.” Arg.Br.37. That

late-breaking argument is both forfeited and meritless.

      1. First, Argentina never argued below that international comity provides an

independent basis (separate from forum non conveniens) for dismissing this case. In

fact, Argentina did not mention international comity in its initial motion to dismiss

at all. See JA193-234. Argentina first mentioned that concept in its renewed motion

to dismiss for forum non conveniens—and not as a standalone argument, but merely

as a public-interest factor in the forum non conveniens calculus. See, e.g., JA463

(“Plaintiffs’ Claims Should Be Dismissed Pursuant to the Doctrine of Forum Non

Conveniens” (capitalization altered)); JA485 (arguing in subpart I.D.2.(2), as part of


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Argentina’s discussion of the public interest factors, that “Argentina’s Interest

Should Be Recognized Pursuant to Principles of International Comity”). That is why

the district court disposed of the issue in a footnote, see SA87 n.15, and why this

Court need not consider Argentina’s new standalone international-comity argument,

see, e.g., Sczepanski v. Saul, 946 F.3d 152, 161 (2d Cir. 2020) (arguments not raised

below are forfeited).

      2. Argentina’s late-breaking argument is meritless in any event. In its accepted

form, international comity abstention allows a court “to decline to exercise

jurisdiction over a case before it when that case is pending in a foreign court with

proper jurisdiction.” JP Morgan Chase Bank v. Altos Hornos de Mexico, S.A. de

C.V., 412 F.3d 418, 424 (2d Cir. 2005); cf. Colo. River Water Conservation Dist. v.

United States, 424 U.S. 800 (1976) (abstention based on parallel state proceedings).

Even in that limited (and obviously inapposite) category of cases, abstention is only

appropriate in “exceptional circumstances”; indeed, given the “virtually unflagging

obligation” of the federal courts to hear cases within their jurisdiction, “only the

clearest of justifications will warrant dismissal” on international comity grounds.

Royal & Sun, 466 F.3d at 92-93 (brackets omitted).

      Argentina does not (and cannot) invoke that accepted form of international

comity abstention, because there is no parallel foreign proceeding here. Instead,

Argentina argues for a far broader rule that conflates international comity abstention


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and forum non conveniens—namely, that international comity warrants abstention

whenever “a second sovereign also has a legitimate claim to jurisdiction” and “has

a greater interest in the dispute,” even if no foreign proceeding is pending and even

if no exceptional circumstances are involved. Arg.Br.38-39. That breathtakingly

unconstrained approach would replace well-developed principles of forum non

conveniens with a bizarre “America-last” approach that would ignore the deference

owed to the plaintiff’s choice of forum and the federal courts’ virtually unflagging

obligation to exercise jurisdiction (especially when no other litigation is pending).

It has been rightly rejected by other circuits, see, e.g., Gross v. German Found. Indus.

Initiative, 456 F.3d 363, 393-94 (3d Cir. 2006); goes beyond even Argentina’s cited

caselaw, see Mujica v. AirScan, Inc., 771 F.3d 580 (9th Cir. 2014) (dismissing where,

unlike here, the State Department “forcefully” endorsed dismissal); and runs

squarely contrary to the narrow limits on abstention recognized by this Court, see

Royal & Sun, 466 F.3d at 92-93. Notably, Argentina has no explanation whatsoever

for why this Court would require strict limits and exceptional circumstances in the

context of pending foreign proceedings (which would appear to be a necessary

condition for abstention), see id., but ignore those limits and well-established forum

non conveniens principles when foreign proceedings are non-existent. 3 Argentina’s


   3
    While this Court has occasionally discussed international comity abstention in
other circumstances, see, e.g., Jota v. Texaco, Inc., 157 F.3d 153, 159-61 (2d Cir.


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freewheeling view of international comity also contravenes Congress’ judgment in

enacting the FSIA, which ended the prior practice of analyzing international disputes

case-by-case to determine which ones “will undermine international comity,”

replacing that amorphous case-by-case regime with a “comprehensive set of legal

standards.” Republic of Argentina v. NML Capital, Ltd., 573 U.S. 134, 141, 146

(2014) (brackets omitted).

      3. Argentina’s misguided argument also ignores the substantial interest of the

United States in this litigation, especially after nine-plus years of judicial effort.

According to Argentina itself, dismissal on international comity grounds is proper

only if “the United States has a weak interest in the case,” Arg.Br.39—and in this

case, the United States has already declared its strong interest in “ensuring that

foreign states that enter U.S. markets as commercial actors do not enjoy immunity

from lawsuits regarding violations of their commercial obligations.” SA83. The

district court properly considered that and all the other relevant factors, including

Plaintiffs’ choice of forum, as part of its forum non conveniens analysis, which is




1998), it has never affirmed dismissal on that ground absent a pending foreign
proceeding. Insofar as Argentina’s amici suggest otherwise, they confuse
prescriptive comity (whether laws apply extraterritorially) with adjudicative comity
(whether to abstain). See, e.g., Profs.of.Law.Arg.Br.6 (citing In re Vitamin C
Antitrust Litig., 8 F.4th 136 (2d Cir. 2021)).

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the proper place for considerations of international comity in the absence of a

pending foreign proceeding.

II.   The District Court Correctly Rejected Argentina’s Strained Efforts To
      Escape Liability For Its Clear Breach Of Its Contractual Obligations.
      Argentina fares no better on the merits. The elements of a breach-of-contract

claim are not materially different in Argentina and are all readily met here. As the

district court noted, Argentina largely “does not engage with the merits or

substantive elements of Plaintiffs’ breach of contract claim.” SA104. That is

because the undisputed facts show all those familiar substantive elements are plainly

met. See SA122 (recognizing that those elements “are not in serious dispute”). The

tender-offer provisions in the Bylaws imposed a binding and enforceable contractual

obligation on Argentina, see SA125-26; Argentina breached that contractual

obligation by acquiring majority control of YPF but refusing to make a tender offer,

see SA122; and Plaintiffs suffered substantial resulting damages, see SA122-23.

Those largely undisputed elements establish Argentina’s liability for breach of

contract under Argentine law.

      Unable to meaningfully contest the substantive elements of Plaintiffs’ claims,

Argentina resorts to a host of strained legal arguments designed to render its clear

promises in the Bylaws illusory. Those post hoc arguments—many of which rely on

previously unmentioned statutes and legal authorities—are non-starters as a matter




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of both law and common sense.4 There is a reason that Argentina made clear

promises at the time of the IPO and acknowledged the clarity of its breach in real

time when it re-nationalized YPF in 2012. If Argentina had surfaced any of its

current arguments at the time of YPF’s IPO, that privatization would have been dead

on arrival. And if any of its arguments had any merit, Argentina would have invoked

them when it breached its obligations. Instead, when Argentina re-nationalized YPF

in April 2012, it publicly and proudly renounced its promises to minority

shareholders, dismissing compliance as “foolish” and a “bear trap.” Even assuming

that Argentina is due “respectful consideration” on its views of Argentine law here,

Animal Sci., 585 U.S. at 36—which the district court gave it, SA102, 105 n.5, even

though “the appropriate weight” to give a foreign government’s views “depend[s]

on the circumstances” and “there may be cause for caution” when those views are

“offer[ed] … in the context of litigation,” Animal Sci., 585 U.S. at 43—Argentina’s

newfound attempts to render its necessary promises illusory and deprive Plaintiffs

of the benefit of their bargain are wholly groundless.




   4
     So too for the Argentine-law arguments raised by Argentina’s various amici,
which echo Argentina’s attempt on reconsideration to improperly introduce “newly
created expert testimony.” SA161.

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      A.     The District Court Correctly Held That Plaintiffs Have Breach-of-
             Contract Claims Against Argentina.

      The basis for Plaintiffs’ breach-of-contract claim is straightforward. As this

Court has already explained, the Bylaws are “the contract governing the relationship

among YPF, Argentina (in its capacity as a shareholder), and other YPF

shareholders.” Petersen II, 895 F.3d at 199; see, e.g., JA1087 (“[C]orporate bylaws

are contracts.”). That contract included a straightforward promise on Argentina’s

part: if it ever acquired control of a majority of YPF’s shares, it would make a tender

offer to the remaining shareholders at the price specified in the Bylaws. JA652-55,

JA674. Under the Argentine Civil Code, the breach of that contractual promise

“give[s] rise to contractual civil liability” and entitled Plaintiffs to sue Argentina for

breach of contract. JA1087-88; see SA201 (Civil Code Articles 505, 508, 511);

SA205 (Civil Code Article 889).

      Argentina opens its response with a sweeping assertion: that Argentine law

categorically “does not recognize” any breach-of-contract claim by one shareholder

against another based on the breach of a corporate bylaw. Arg.Br.43. Argentina

concedes that as a general matter, the Civil Code provides a breach-of-contract claim

for the breach of “ordinary bilateral contracts.” Arg.Br.43. But Argentina claims

that there is “no similar rule for corporate bylaws,” because (it says) corporate

bylaws are “organizational documents that govern how a company functions” rather

than ordinary contracts. Arg.Br.43. Instead, according to Argentina, the only option


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available to a plaintiff harmed by the breach of a corporate bylaws provision is the

process provided by the General Companies Law (GCL)—which requires first

seeking a corporate resolution to enforce the bylaws at a shareholder meeting, and

then (if unsuccessful) challenging the failure of that resolution by filing suit within

three months in the Argentine court where the company is headquartered. Arg.Br.44;

see SA226.

      That categorical view—the only view that Argentina advanced below, see

JA1833-34—was contradicted by Argentina’s own expert Dr. Manóvil, who

conceded in both his reply report and his deposition that corporate bylaws can

include bilateral contractual promises that will support a breach-of-contract claim

under Argentine law. JA1735-36 & n.173; JA3957; see Arg.Br.48 (recognizing the

concession); SA125 (same). Unable to overcome that concession, Argentina pivots

to a new argument: It asserts that while some corporate bylaws provisions can create

bilateral obligations enforceable by a breach-of-contract suit, the particular tender-

offer provision here does not, because (Argentina says) it does not involve “specific

promises from one party to another.” Arg.Br.48.

      Argentina never made that alternative non-categorical argument below, see

JA1833-34, and so it is forfeited. Sczepanski, 946 F.3d at 161. It is also meritless.

As the district court explained, “based on the plain language of the Bylaws,” the

tender-offer obligation here did involve specific promises from one party to another:


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Argentina “promised security holders that it would provide them with a compensated

exit if it reacquired control over the requisite number of shares.” SA126. That is,

the contractual promise here was made “to specific and identifiable persons, the

remaining shareholders, and was owed by a specific and identifiable person, the

Republic.”   SA126.     Indeed, Argentina does not dispute that “[t]his bilateral

obligation could as easily have been created via a shareholder agreement or a simple

contract,” SA126—in which case, as Argentina appears to concede, its breach would

plainly give rise to a breach-of-contract claim. See Arg.Br.47. The fact that the

obligation was instead contained in the Bylaws “does not change its nature.” SA126;

see JA3957-58 (Dr. Manóvil recognizing that in deciding whether an obligation is

bilateral, “it doesn’t matter whether [the obligation] is in the bylaws or outside the

bylaws”).

      None of Argentina’s other assorted arguments is remotely persuasive.

Argentina claims that Article 1138 of the Civil Code defines contracts as “bilateral”

where the parties “assume reciprocal obligations.” Arg.Br.47 (quoting SA208). But

that article, which Argentina never cited below, has nothing to do with whether a

breach-of-contract claim is available under the Bylaws; it merely categorizes

contracts as either “unilateral,” where “only one of the parties undertakes an

obligation,” or “bilateral,” where the parties “assume reciprocal obligations.”

SA208. Even assuming that dichotomy applies, the tender offer provisions here are


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plainly bilateral, as they impose reciprocal obligations on all shareholders—which

is why Petersen itself was required to (and did) make a tender offer when it crossed

the 15% ownership threshold. Petersen II, 895 F.3d at 200.

       Argentina instead suggests that bilateral agreements can only arise between

individually identified parties—“a named Shareholder A” and “a named Shareholder

B”—and that any change in those parties requires novation. Arg.Br.48. Once again,

Argentina never made that argument below, and so has forfeited it. Regardless,

Argentina cites nothing in the Code to support its apparent view that a breach-of-

contract claim is categorically unavailable under Argentine law for any contract that

allows the parties to assign their rights to others. Contra Arg.Br.47. And to the

extent “an agreement between the original parties to allow a new party to enter the

contract” is required, Arg.Br.47, the Bylaws embody just such an agreement with

respect to new shareholders. See Petersen II, 895 F.3d at 199 (recognizing that the

Bylaws “govern[] the relationship among … YPF shareholders”). 5

       Argentina emphasizes that other YPF shareholders chose to pursue remedies

under the GCL, and that (it says) this appears to be the first case in which one



   5
     Argentina notes that its Capital Markets Law—enacted in 2018 and never
mentioned below—imposes a tender-offer requirement without providing a breach-
of-contract claim. Arg.Br.45-46. But the fact that Plaintiffs have a breach-of-
contract claim for Argentina’s breach of its contractual obligation in the Bylaws
hardly implies that the same remedy must be available for the breach of a statutory
obligation under a law enacted years later. Contra Arg.Br.48-49.

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shareholder has sued another under Argentine law for breach of contract based on

the breach of a bylaws provision. Arg.Br.44-45. But Argentina does not even

attempt to argue that the remedies provided by the GCL are exclusive, or that they

preclude Plaintiffs’ claims under the Civil Code—because the Argentine

Commercial Code (which includes the GCL) specifies that the Civil Code continues

to apply to “all matters and business transactions” unless specifically displaced.

JA940 (quoting Commercial Code Article 207); see SA128 (rejecting the argument

that Plaintiffs claim “was somehow modified or displaced by ill-fitting and indirect

intra-corporate procedures”). 6 The absence of reported cases involving similar

claims is readily explained by the uniquely clear promises Argentina made in order

to reassure investors that they would be amply protected in the event of a feared re-

nationalization, and its uniquely egregious breach. Having made extraordinary

promises and committed an extraordinary breach, Argentina cannot avoid the

consequences just because there is no precedent involving comparable

circumstances.




   6
     So too under U.S. law, where it is “well established” that corporate bylaws “are
contracts among a corporation’s shareholders.” Oliveira v. Quartet Merger Corp.,
662 F.App’x 47, 48 (2d Cir. 2016); see Reliable Credit Ass’n v. Credithrift of Am.,
Inc., 570 P.2d 379 (Or. 1977) (allowing contract claim for damages based on breach
of corporate bylaws); contra Law.Profs.Arg.Br.4-11. Argentina’s only contrary
authorities are one unpublished District of Oregon decision and one New York trial-
court decision from 1945 (plus two treatises relying on it). Arg.Br.46.

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      Finally, Argentina’s post hoc attempts to deny Plaintiffs their straightforward

remedy for Argentina’s straightforward breach fails the test of common sense. If the

tender-offer obligation in the Bylaws were really as unenforceable as Argentina now

claims, the IPO would have failed dramatically. Given Argentina’s shaky economic

past and historic weakness for economic nationalism, no reasonable investor would

have invested in YPF if the promised remedy for a breach of the tender-offer

obligations was not a simple breach-of-contract claim but instead a tortuous journey

down the rabbit hole of Argentine corporate law in the Argentine courts. After

explicitly promising in the Bylaws to provide investors a compensated exit at the

predetermined price that the Bylaws set, Argentina cannot now be heard to argue

that no breach-of-contract claim exists to enforce that contractual promise.

      B.     The District Court Correctly Held That Plaintiffs Were Not
             Limited to Contractual Penalties or Specific Performance.
      Argentina next attempts to avoid the consequences of its deliberate breach by

arguing (on two separate grounds) that even if Plaintiffs have a claim for breach of

contract, they cannot recover damages for that breach. The district court correctly

rejected both of Argentina’s meritless theories.

             1.    The Bylaws do not preclude Plaintiffs’ damages claim.

      First, the district court correctly rejected Argentina’s argument that §7(h) of

the Bylaws is a “penalty clause” and so “serves as Plaintiffs’ exclusive remedy under

Argentine law.” SA129. A “penalty clause” under Argentine law, like a liquidated


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damages clause under U.S. law, is “one in which a person, to ensure the fulfillment

of an obligation, subjects themselves to a penalty or fine in case of delay or non-

performance of the obligation.” SA204; see JA1110 (penalty clause operates as “a

sort of liquidated damages clause” that “establish[es] by agreement of the parties the

amount of the damages resulting from a potential breach”). Penalty clauses “are

always interpreted narrowly and in favor of the obligee” (i.e., the non-breaching

party), JA1110, and “the party that asserts the penalty clause has the burden of

proving its existence,” JA3960. Argentine law also sets specific limits on the kind

of consequences that can qualify as a penalty clause: Under Article 653 of the Civil

Code, a penalty clause “may only have as its object the payment of a sum of money,

or any other performance that may be the object of the obligations, either for the

benefit of the non-breaching party or a third party.” SA130. 7

       As the district court correctly recognized, §7(h) of the Bylaws does not meet

that test. Section 7(h) in no way relieves Argentina (or any other party whose

acquisition triggers a tender-offer requirement) of its tender-offer obligations.

Instead, it imposes an obligation on YPF to ensure that shares acquired in breach of

the Bylaws tender-offer requirements “shall not grant any right to vote or collect




   7
     The translation of Article 653 that Argentina provides at SA204 differs from the
translation the district court adopted. See SA130 n.10. Argentina does not dispute
that the court’s translation is more accurate.

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dividends” and shall not be counted toward a quorum at shareholders’ meetings.

JA657. As the plain terms of §7(h) make clear, and as the district court explained,

that provision “certainly does not provide for the ‘payment of a sum of money’” by

a party that breaches the Bylaws tender-offer requirements, nor does it “call for an

alternate ‘performance’” by that party. SA130-31. Instead, §7(h) is directed to

YPF—not Argentina—and “simply operates to strip” the improperly acquired shares

“of rights they would otherwise have.” SA131. Because §7(h) is not directed to

Argentina and does not “have as its object” either “the payment of a sum of money”

or “any other performance,” it is not a penalty clause under Article 653 and cannot

substitute for Plaintiffs’ right to seek damages for Argentina’s breach. SA204; see

SA130-31.

      Argentina has no response to the plain language of Article 653. It does not

(and cannot) argue that §7(h) provides for any “payment” or any actual

“performance” by the breaching party. Instead, it relies on wordplay, citing two

treatises—neither mentioned in its briefing below on this point—to claim that a “loss

of rights or benefits” qualifies as “performance” under Article 653. Arg.Br.52. That

view cannot be reconciled with the clear text of Article 653—which is why, as one

of Argentina’s leading scholars on penalty clauses (and YPF’s expert in this case)

Dr. Kemelmajer has written elsewhere, a “stipulation that consists of the loss of

rights or reprimands on the debtor is not a penalty clause.” JA3963. And it is


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painfully ironic for Argentina to claim that the purported “loss of rights” imposed by

§7(h)—which YPF refused to ever actually enforce against Argentina, and so has

had no practical effect whatsoever—should qualify as an alternative “performance”

and so displace any claim for damages for Argentina’s willful breach.

      There is likewise no conflict between Article 653’s payment-or-performance

requirement and other provisions of the Code. Contra Arg.Br.53. The fact that an

alternative “performance” under a penalty clause may be “for the benefit of … a

third party,” SA130, does not mean something other than “performance” suffices.

And the fact that a penalty clause is an exclusive remedy under Article 655 even if

it does not provide “sufficient compensation,” SA204, does not alter the requirement

that some form of payment or performance is required, SA130.

      Finally, even if §7(h) were a penalty clause (it is not), such clauses do not limit

liability under Argentine law in cases of willful breach. See JA931 (penalty clause

“can never limit liability in the context of an intentional (or willful) contractual

breach.”).   Argentina willfully breached its contractual obligations here—by

deciding months in advance to proceed despite knowing that the Bylaws required a

tender offer, by proudly announcing the day after its breach that it would not be

“stupid” enough to abide by its earlier promise, and by openly defying the tender-




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offer requirement. Argentina cannot now rely on §7(h), an additional safeguard that

it blew right through, to avoid paying for the injury it caused. 8

             2.     Plaintiffs were not obligated to seek specific performance.

       The district court also correctly rejected Argentina’s argument that Plaintiffs

were required to seek specific performance back when they still possessed the YPF

shares and thus cannot now recover their damages. As the court explained (and

Argentina agreed below), Article 505 of the Civil Code “permits the nonbreaching

party to seek the following remedies: (i) performance from the breaching party,

(ii) performance in-kind from a third party at the cost of the breaching party, and

(iii) damages.” SA132; see SA201; JA3541 (Argentina recognizing that Article 505

“lists the available remedies for breach”). The court found no merit in Argentina’s

argument that “the order in which the remedies are listed” in Article 505 is

“mandatory,” explaining that “nothing in the plain language of Article 505” supports

that view. SA132; see JA1104-05; JA944 (Article 505 “does not establish a rigid

hierarchy of remedies”). The court was likewise unpersuaded by Argentina’s

argument that Article 889 of the Civil Code makes seeking specific performance

mandatory, explaining that Article 889 just makes clear that “when specific


   8
    Argentina’s only response is to claim in a footnote that penalty clauses are not
exclusive only in cases of “malicious” breach, not just “willful” breach. Arg.Br.53
n.6. Argentina is wrong, see JA931, but its conduct here easily qualifies as
“malicious” anyway, see JA1661 n.192 (malice includes “indifference [to] harmful
consequences that it is very likely and foreseeable will arise”).

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performance is impossible due to the fault of the breaching party, damages remain

an available remedy.” SA133. That provision would seem to underscore the

availability of a damages remedy here, as the form of specific performance Argentina

envisions is no longer possible. But in all events, as the district court concluded, the

plain language of the Code entitles Plaintiffs “to elect damages as their remedy

instead of specific performance.” SA134; see, e.g., JA1104-05 (obligee “may seek

either specific performance or damages.”); JA944 (obligee “may freely choose”

between specific performance or damages).

      Argentina makes no attempt to revive its rejected arguments that Article 505

or Article 889 imposes a mandatory hierarchy. Instead, Argentina raises yet another

new argument, claiming that its purported hierarchy of remedies is actually imposed

by Article 1204 of the Civil Code and Article 216 of the Commercial Code—neither

of which Argentina or its experts mentioned below. That argument is plainly

forfeited, and meritless in any event. Neither of the two provisions on which

Argentina now relies actually applies to this case (which is why Argentina and its

experts never raised either below), and both are explicitly permissive in any event,

stating only that a non-breaching party “may” demand specific performance (and

that if the breaching party still fails to perform, the contract “shall be automatically

resolved” and leave the non-breaching party with only its damages claim). SA205,




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210. The fact that non-breaching parties in other cases may demand specific

performance rather than damages does not mean that Plaintiffs must do so here.

       Argentina’s efforts to bolster its position are unavailing. It cites three cases to

claim that Argentine courts have “consistently” required plaintiffs to first seek

specific performance. Arg.Br.55-56. Two of those cases—Lipnik and Lezcano,

neither mentioned in Argentina’s briefs below—are governed by Article 216 of the

Commercial Code, rather than Article 505 of the Civil Code (which controls here).

See SA344-45, SA369. In cases under Article 505, by contrast, Argentine courts

have repeatedly held that plaintiffs need not first seek specific performance. See,

e.g., JA944 n.72 (citing cases).9 Argentina also notes that Article 1083—another

provision it never mentioned in its district court briefing—makes damages available

in tort cases. Arg.Br.55 (quoting SA208). But specifying damages for tort cases

does not imply that they are unavailable for breaches of contract. To the contrary, as

Argentina eventually concedes, Article 505 recognizes that damages “may be

available” in “both contract and tort” in appropriate cases. Arg.Br.57.

       In the end, Argentina’s assertion that a non-breaching party must request

specific performance turns Argentine law on its head, “transform[ing] principles …

that are meant to protect the obligee into principles that harm the obligee.” JA945.



   9
    As to L., G.L., Argentina simply misconstrues it. See SA326 (recognizing that
Article 505 does not “prescribe a mandatory order of priority”).

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Argentine law is more liberal than U.S. law in permitting specific performance

because it “assumes that the obligee will want the option of seeking specific

performance of the obligation she was promised.” JA943-44. But the right to elect

specific performance does not entail the requirement to seek specific performance if

the plaintiff concludes it would no longer be useful. In that circumstance, the

plaintiff may seek damages instead. See, e.g., JA1107 n.41 (recognizing that “the

choice” to seek specific performance “is to the obligee’s favor”).

      Finally, even if the Civil Code generally required plaintiffs to seek specific

performance before seeking damages (which it does not), that requirement would be

excused here. As Argentina concedes (and Article 889 makes indisputable), a

plaintiff is entitled to seek damages if “the breaching party has made specific

performance impossible.” Arg.Br.53-54; see SA205 (“[i]f the performance becomes

impossible due to the debtor’s fault”). That is precisely what happened here:

Argentina’s breach of its tender-offer obligation caused Petersen’s creditors to

foreclose on its shares, making it impossible for Petersen to tender those shares for

specific performance. See Petersen II, 895 F.3d at 203. Argentina’s claim that

Petersen has “no one to blame but [itself]” for that outcome, Arg.Br.57, is beyond

remarkable. In any event, the record makes unambiguously clear—and Argentina

explicitly announced—that Argentina had no intention of fulfilling its tender-offer

obligations, whether Plaintiffs requested it or not. As YPF’s expert Dr. Kemelmajer


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acknowledged, Argentine law does not require a futile request for specific

performance that the defendant has already declared it will not provide. Petersen

Dkt.396-8 at 17-18; see JA2362 n.130 (plaintiff can sue for damages if the defendant

“refuses to perform”); JA1128-29; JA2604-05; JA3965-66.

      C.     The District Court Correctly Held That Plaintiffs Were
             Shareholders at the Time of the Breach.

      The district court also correctly concluded that Plaintiffs are entitled to sue for

Argentina’s breach of its tender-offer obligation because they were YPF

shareholders when that breach occurred—on April 16, 2012, when Argentina

acquired at least indirect control of a majority of YPF’s shares through its

intervention decree. SA115-16, 144-46, SA165-71. In response, Argentina contends

that its breach did not occur until more than two years later—in May 2014—when

it eventually took formal title to Repsol’s shares at the end of the expropriation

process. That argument is meritless. As this Court has already recognized, the

Bylaws did not turn on the technicalities of title, but required Argentina to make a

tender offer “if ‘by any means or instrument’ it ‘becomes the owner of, or exercises

the control of,’ at least 49% of YPF’s capital stock.” Petersen II, 895 F.3d at 206

(brackets omitted and second emphasis added) (quoting JA674). As a result,

Argentina’s contractual “obligation to make a tender offer” was first “trigger[ed]”

by its “acquisition of a control position” on April 16, 2012, not the later transfer of

formal title in May 2014. Id. at 207.


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      That conclusion follows from the plain text of the Bylaws, which squarely

refute Argentina’s assertion that the “acquisition” that triggers its tender-offer

obligation turns on formal title rather than control. Contra Arg.Br.59-60. The

Bylaws make clear that the tender-offer provisions “shall apply to all acquisitions

made by the National Government, whether directly or indirectly, by any means or

instrument … if, as a consequence of such acquisition, the National Government

becomes the owner, or exercises the control of,” shares representing at least 49% of

YPF. JA674 (emphasis added). Far from limiting the tender-offer obligation to

acquisitions of formal title, that language explicitly applies it broadly to “all”

acquisitions, “whether directly or indirectly, by any means or instrument,” by which

Argentina “exercises the control of” the requisite share threshold.        Id.   That

expansive language provides precisely the expansive protection that investors

needed and Argentina and YPF promised—not just against the narrow risk that

Argentina might take formal title to a majority of YPF’s shares on a date of its

choosing, but the broad risk that Argentina might take over control of that majority

position by any means, leaving investors stranded as unwilling minority

shareholders in a state-controlled firm. The last thing investors would have wanted

was to fall victim to a de facto re-nationalization in which they had no rights unless

and until Argentina executed a de jure transfer of title.




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        Argentina insists that its expert Dr. Manóvil had “[n]ever” in “more than half

a century of professional experience” heard the term “acquisition” used for

“anything other than obtaining title.” Arg.Br.59 (quoting JA1703). In fact, Dr.

Manóvil conceded both in his reply report and again at his deposition that when

“acquisition” has as its object “control,” it means acquisition of control, not

acquisition of formal title. See JA1703-04 (giving the example “the defendant

acquired control of the company”); JA3955-56 (recognizing that when “the word

acquire is used with another qualifier,” then it refers to acquiring “something else”).

As Dr. Manóvil also acknowledged, the Bylaws expressly define the relevant

“acquisitions” as “acquisitions of control.” JA652, JA682 (Bylaws §7(d) defining

“acquisitions” as “Takeovers,” in Spanish “Adquisiciones de control”); see JA1703

n.37.

        The Bylaws’ clear text is confirmed by their equally clear purpose. The

tender-offer requirements in the Bylaws were designed to reassure foreign investors,

whose “main concern was Argentina’s reacquisition of control,” not just formal

acquisition of title. JA938. That purpose would not remotely be served by a

provision that would allow Argentina to avoid its tender-offer obligation in

perpetuity—as Argentina apparently believes it could—by the simple expedient of

seizing control of YPF’s shares but refusing to acquire formal title. No reasonable

investor would have invested in YPF on the basis of such an illusory promise.


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      D.     The District Court Correctly Held That Argentina’s General
             Expropriation Law Does Not Bar Plaintiffs’ Claims.

      The district court likewise correctly concluded that Plaintiffs’ claims are not

barred by Argentine public law. In fact, this Court has already squarely rejected

Argentina’s argument that allowing Plaintiffs’ breach-of-contract claims to proceed

would interfere with Argentina’s sovereign authority to expropriate, explaining that

Plaintiffs are challenging only Argentina’s breach of its “commercial obligation

under the bylaws to make a tender offer,” and are “not challenging the expropriation”

or “any other sovereign act.” Petersen II, 895 F.3d at 209, 211. As this Court

concluded, there is “no basis in the record for concluding that Argentina could not

have complied with both the YPF Expropriation Law and the bylaws’ tender offer

requirements.” Id. at 209. Argentina’s attempt to resurrect the same invented

conflict by citing to its General Expropriation Law rather than the YPF

Expropriation Law fares no better.

      Argentina premises its argument on Article 28 of the General Expropriation

Law, which provides: “No action by third parties may impede the expropriation or

its effects. The rights of the claimant shall be considered transferred from the

[expropriated] thing to its price or to the compensation, leaving the thing free of any

encumbrance.” SA233. But as the district court explained, nothing in Article 28

affects Plaintiffs’ claims, which did not “impede the expropriation” and do not

“encumb[er]” the expropriated shares. SA136-38. Indeed, Argentina went out of its


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way to exclude Plaintiffs’ shares from the expropriation in an effort to obtain control

on the cheap—i.e., by expropriating only a bare majority of YPF’s shares, rather than

all of them. See Petersen II, 895 F.3d at 211 (Argentina expropriated only “Repsol’s

51% stake in YPF”). It thus takes remarkable chutzpah to accuse Plaintiffs of

interfering with the expropriation. Plaintiffs instead assert contractual rights that are

“separate and apart from Argentina’s expropriation of Repsol’s shares,” Petersen II,

895 F.3d at 209, and that arise “not from the expropriated shares but from the

contractual obligations the Republic undertook when it revised the Bylaws to require

it to make a tender offer if it acquired a certain number of shares,” SA138. Enforcing

those distinct contractual rights implicates neither the expropriation itself nor the

expropriated shares. On the contrary, as this Court observed, those rights “could just

as easily have been triggered by Argentina’s acquisition of a controlling stake in YPF

in open-market transactions.” Petersen II, 895 F.3d at 207 (quoting SA17).

      Argentina has no persuasive response. It asserts that Article 28 makes the

General Expropriation Law the “exclusive” process “for third parties seeking

compensation” for the expropriation, and so Plaintiffs can recover only out of the

“compensation award” that Argentina paid Repsol for its shares. Arg.Br.63; see

Arg.Br.61-62.    But that is a non sequitur, as Plaintiffs’ YPF shares were not

expropriated at all.    Article 28 does not reach all plaintiffs “affected by an

expropriation” or all claims that “relate to an expropriation,” contra Arg.Br.61;


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instead, it applies only to “rights of the claimant” in “the thing” that is expropriated,

which are “transferred from the thing to its price or to the compensation.” SA233.

Plaintiffs’ complaint is not that they are entitled to a piece of what Repsol was paid

for the shares Argentina actually expropriated from Repsol. Plaintiffs instead are

suing for the damages caused to them as holders of non-expropriated shares because

of Argentina’s distinct obligations to minority shareholders under the Bylaws.

Article 28 has nothing to do with that. See Petersen II, 895 F.3d at 211 (emphasizing

that Argentina did not expropriate “the contractual rights of shareholders to receive

tender offers”).

      None of the cases that Argentina cites is apposite. Puerto de San Nicolás

involved a party that claimed a right to use the expropriated property itself, SA299;

Rosario involved a contract provision that purported to limit when expropriation

could occur (by requiring five years’ notice), SA312; Hidronor involved a provision

that purported to regulate what court would hear the expropriation suit, SA287;

Ferrocarril involved an attempt to impose an easement on the expropriated property

that would require the expropriator to build two crossings over it, SA283; and De

San Martín did not discuss what claims are governed by Article 28 at all, SA252-55.

Not one of those cases remotely suggests that Article 28 precludes a breach-of-

contract claim that does not assert any interest in the expropriated property or any

limitation on Argentina’s power to expropriate it, and that is instead premised on


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Argentina’s breach of a separate and distinct contractual tender-offer obligation.

Petersen II, 895 F.3d at 211.

                                       * * *

       Finally, it bears emphasis that just because Argentina raises numerous

arguments in its effort to escape its clear contractual obligations, that does not mean

that this case involves complicated issues of Argentine law or that summary

judgment was inappropriate. As the district court concluded in rejecting a similar

suggestion, it “made ‘numerous’ rulings against the Republic because the Republic

made meritless arguments in an effort to eliminate its liability for breaching the

Bylaws—and made a lot of them.” SA156 n.1. Argentina has taken the same

approach on appeal, and it warrants the same result.

III.   The District Court Correctly Determined The Damages That Argentina
       Owes Plaintiffs.
       Argentina’s efforts to undermine the district court’s damages award are

equally unavailing. The district court correctly calculated the damages award in U.S.

dollars, correctly determined the date on which Argentina triggered its tender-offer

obligation under the Bylaws, and properly exercised its discretion in awarding

prejudgment interest. Argentina’s various contrary arguments are entirely meritless.




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      A.     The District Court Correctly Calculated Plaintiffs’ Damages in
             Dollars.

      Argentina begins its challenge to the district court’s damages award not by

contesting the actual amount it owed under the Bylaws and failed to pay, but by

contesting the district court’s calculation of that amount in dollars. It argues that the

district court should have calculated the damages that Argentina owed in 2012 in

Argentine pesos, and then converted them to U.S. dollars using the conversion rate

as of the 2023 judgment date—a procedure that would conveniently wipe out some

95% of Plaintiffs’ damages, based solely on the precipitous fall in the value of the

peso over the last decade. JA3499. Nothing in law or logic requires that unlikely

and remarkably inequitable result, and the district court correctly rejected it.

      1. Argentina bases its argument on New York Judiciary Law §27, which as

relevant here provides:

      (a) Except as provided in subdivision (b) of this section, judgments and
          accounts must be computed in dollars and cents. …

      (b) In any case in which the cause of action is based upon an obligation
          denominated in a currency other than currency of the United States, a
          court shall render or enter a judgment or decree in the foreign currency
          of the underlying obligation. Such judgment or decree shall be converted
          into currency of the United States at the rate of exchange prevailing on
          the date of entry of the judgment or decree.

N.Y. Jud. Law §27; see Arg.Br.72-73. According to Argentina, its contractual

obligation under the Bylaws to make a tender offer was “an obligation denominated

in a currency other than currency of the United States,” and so Judiciary Law §27(b)


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required the district court to enter judgment in Argentine pesos and then convert that

judgment to U.S. dollars at the judgment-date conversion rate. See Arg.Br.72-73.

      As the district court correctly recognized, that argument fails. First, the

underlying obligation that Argentina breached here was a performance obligation,

not a payment obligation “denominated” in a particular foreign currency. N.Y. Jud.

Law §27(b). Under the Bylaws, Argentina was obligated upon acquiring control of

49% or more of YPF’s shares to make a tender offer to minority shareholders, which

those shareholders would have been free to accept or reject. See JA652, JA674.

Plaintiffs are accordingly “suing for the breach of the Republic’s obligation to

perform its tender offer,” not for the breach of an obligation to pay them a “sum

certain denominated in pesos” (or in any other particular currency). SA147; see

Nature’s Plus Nordic A/S v. Nat. Organics, Inc., 78 F.Supp.3d 556, 557-58 (E.D.N.Y.

2015) (Judiciary Law §27(b) “is inapplicable” to a “performance obligation”).

Second, even if a performance obligation could conceivably be “denominated” in a

particular currency, the Bylaws here “are silent as to denomination,” SA147, and in

context plainly contemplate a tender offer to ADR holders in U.S. dollars rather than

pesos, see infra pp.73-74. For both reasons, Plaintiffs’ claims are not “based upon”

any “obligation denominated in a [foreign] currency”—and so Judiciary Law §27(b)

does not apply, and the judgment must instead be “computed in dollars and cents”




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as of the date of breach under Judiciary Law §27(a). N.Y. Jud. Law §27; see SA146-

47; Nature’s Plus, 78 F.Supp.3d at 557-58.

      That outcome is confirmed by the settled canon that a statute “enacted in

derogation of the common law” must be “strictly construed … in the narrowest sense

that its words and underlying purposes permit.” Malmberg v. United States, 816 F.3d

185, 193 (2d Cir. 2016) (quoting Oden v. Chemung Cnty. Indus. Dev. Agency, 661

N.E.2d 142 (N.Y. 1995)). As Argentina concedes, New York common law generally

requires that judgments be dollar-denominated and that “foreign-currency

obligations … be converted using the exchange rate on the day of breach,” which

avoids penalizing defendants for currency devaluations.        Arg.Br.73 (emphasis

original); see, e.g., Newmont Mines Ltd. v. Hanover Ins. Co., 784 F.2d 127, 138 (2d

Cir. 1986). Judiciary Law §27(b) represents a narrow statutory departure for

obligations that are specifically “denominated in a [foreign] currency,” in which case

judgment shall be entered “in [that] foreign currency” and converted into dollars at

the judgment-day rate.      N.Y. Jud. Law §27(b).       But absent an “obligation

denominated in a [foreign] currency” under §27(b)—a phrase that must be “strictly

construed” in its “narrowest sense,” Malmberg, 816 F.3d at 193—the default

common-law rule applies, and the judgment is “computed in dollars and cents” as of

the date of breach under §27(a).




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      That result makes perfect sense. When a payment obligation is expressly

denominated in a foreign currency, the obligee takes the risk that the currency may

fluctuate between the time when the agreement is made and the time when the

obligation is paid. See Competex, S.A. v. Labow, 783 F.2d 333, 338 (2d Cir. 1986)

(“If plaintiff holds an English judgment for £1 and the value of £1 depreciates from

$1 to $.60 ... that is merely the consequence of holding an obligation in pounds.”).

By contrast, where (as here) the obligation is to perform rather than just pay and is

not denominated in a foreign currency in any event, the obligee takes no such

currency risk, and New York law does not impose it.

      Unable to fit within the narrow exception provided by §27(b), Argentina

attempts to broaden it, claiming that an obligation is “denominated” in a foreign

currency under §27(b) whenever “circumstances indicate that it must be calculated

in that currency.” Arg.Br.75. Argentina cites no case whatsoever adopting that

definition, and for good reason: because it conflicts with the plain meaning of

“denominate,” which in the context of currency means to “officially set the value of

(something) according to an established system or a type of money,” Black’s Law

Dictionary (11th ed. 2019). Regardless, even giving “denominate” Argentina’s

atextual meaning still would not justify expanding §27(b) to cover the tender-offer

obligation here, which requires performance rather than payment, and which

contemplates payment in U.S. dollars rather than foreign currency in any event, see


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infra pp.73-74. No one would think that a plaintiff suing on a contract that

contemplates payment in U.S. dollars for a finished product should be relegated to

damages in pesos just because the supplier paid pesos for some of the components

that went into that product, even if some part of the damages calculation necessarily

involved pesos as a result. Contra Arg.Br.75.

      Argentina is equally wrong to suggest that because judgments under §27(a)

are “computed in dollars and cents,” they cannot involve any kind of currency

conversion at all. Contra Arg.Br.76. On the contrary, judgments under §27(a)—

whose “computed in dollars and cents” language has remained unchanged since it

was enacted in 1909—are plainly the default mode and just as plainly “computed in

dollars and cents” as they were before §27(b) was enacted in 1987. To the extent

that computation involves foreign currency and requires applying an exchange rate

(as in a hypothetical purchase of a product with foreign-made components), the

relevant rate is that on the date of breach. There is thus no “third bucket of cases,”

contra Arg.Br.76; there are just judgments “computed in dollars and cents,” and a

narrow class of judgments for payment obligations specifically “denominated in

[foreign] currency” that use the judgment-day exchange rate under §27(b). Because

Argentina’s tender-offer obligation was a performance obligation rather than a




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payment obligation and was not denominated in foreign currency in any event, this

case falls squarely in the former category. 10

        2. All of this is ultimately beside the point, because Argentina was obligated

to make a tender offer for the ADR shares Plaintiffs owned in dollars, not pesos. The

Bylaws required Argentina to make a tender offer for “all the shares of all classes of

[YPF] and all securities convertible into shares,” including U.S.-dollar-denominated

ADRs traded on the NYSE. JA652 (Bylaws §7(e)(ii)). It required that tender offer

to comply with the requirements of all “stock exchanges where [YPF’s] shares and

securities are listed,” JA652 (Bylaws §7(f)), including the NYSE, and required

published notice of the tender offer in New York, JA653-54 (Bylaws §7(f)(iv)); see

Petersen II, 895 F.3d at 199-200. The Bylaws thus make clear beyond peradventure

that Plaintiffs (like other ADR holders) were entitled to a tender offer for their ADRs

that could only be made in dollars.

        ADRs are always issued and traded in U.S. dollars, not foreign currency,

which is one of the principal reasons U.S. investors prefer ADRs over the underlying

foreign shares. See, e.g., Stoyas v. Toshiba Corp., 896 F.3d 933, 942 (9th Cir. 2018)




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      Argentina’s repeated insistence that Plaintiffs’ expert Professor Fischel
calculated the tender-offer price in pesos and then converted it to dollars thus misses
the point. Section 27(b) applies only to obligations “denominated” in a foreign
currency, not all obligations whose breach may require some damages calculations
involving a foreign currency. N.Y. Jud. Law §27(b).

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(“ADRs are denominated in U.S. dollars[.]”); JA959. In fact, it is technically

impossible to pay Argentine pesos for ADRs in the United States, as the Depositary

Trust Company and the American banking system are not set up to allow the transfer

of that foreign currency. JA962-63. As such, “[t]he vast majority of ADR tender

offers” are priced in U.S. dollars—and in the “few circumstances” where tender

offers for ADRs are priced in foreign currency, “the foreign currency would be

immediately converted” to U.S. dollars for distribution to the ADR holders. JA962.

When YPF held its IPO in 1993, it accordingly made its offer in U.S. dollars and

accepted U.S. dollars for the purchase of its ADRs on the NYSE, and its deposit

agreement likewise requires that any distributions to ADR holders will be made in

U.S. dollars. JA963; see JA490 (YPF prospectus listing ADRs in dollars). And

consistent with that arrangement, when Repsol and Petersen made their own tender

offers for ADRs in New York, they paid in dollars as well. See JA3354; JA3494.

The Bylaws and common practice thus make clear that if Argentina’s obligation to

tender for Plaintiffs’ ADRs was “denominated” in any currency, it was U.S. dollars.

      3. Finally, Plaintiffs also suffered their damages in U.S. dollars. In fact, it is

undisputed that if Argentina had carried out its tender-offer obligations, Plaintiffs

would have been paid for their ADRs in dollars, not pesos: Even if Argentina had

made its tender offer for those ADRs only in pesos (despite its Bylaws obligation to

tender for “all securities convertible into shares” in accordance with the


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requirements of all “stock exchanges where [those] securities are listed,” JA652),

the deposit agreement through which the ADRs were administered would have

required immediate conversion of those pesos into dollars for distribution to

Plaintiffs. See JA3339. The harm that Plaintiffs suffered from Argentina’s breach

of its tender-offer obligations was thus a loss of U.S. dollars, not a loss of Argentine

pesos. See JA2609 (under Argentine law, “the party aggrieved by the breach of a

contract is entitled to full compensation for the harm sustained”); cf. United States

Naval Inst. v. Charter Commc’ns., Inc., 936 F.2d 692, 696 (2d Cir. 1991) (damages

“are generally measured by the plaintiff’s actual loss”). And even if, in some

strained hypothetical world, Plaintiffs had somehow received Argentine pesos in

2012 for their ADRs, there is zero chance Plaintiffs would simply have held them

for the next decade while they lost 95% of their value rather than immediately

converting them to dollars, as it is inconceivable that anyone would retain pesos after

choosing a compensated exit to avoid being at the mercy of Argentine government

policy. Put simply, economic reality accords with New York law: Plaintiffs are

entitled to judgment in U.S. dollars as of the date of breach, not devalued Argentine

pesos as of eleven years later.

      B.     The District Court Correctly Determined the Breach Date and
             Awarded Appropriate Prejudgment Interest.

      Argentina’s remaining damages arguments—attacking (1) the district court’s

factual determination after a bench trial concerning the date on which Argentina first


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breached its Bylaws obligations and (2) the court’s prejudgment interest award—are

likewise meritless.

      1. As the district court’s carefully reasoned damages opinion explains, both

the evidence at trial and common sense make clear that Argentina exercised at least

indirect control of a majority of YPF’s shares—and therefore triggered its tender-

offer obligation under the Bylaws—when it issued its intervention decree on April

16, 2012. Under the Bylaws, Argentina was required to make a tender offer

whenever it “directly or indirectly, by any means or instrument … becomes the

owner, or exercises the control of,” at least 49% of YPF’s Class D shares. JA674.

As Argentina continues to concede, the intervention gave Argentina total and

undisputed control of YPF as a company. Arg.Br.78; see, e.g., SA165; JA3627-28;

JA3746. Argentina has never explained—and cannot explain—how it could wrest

control of a publicly traded company from its majority shareholder without

exercising at least indirect control of the majority shareholder’s shares. The record

here shows precisely why that was impossible: By taking control of the company,

Argentina necessarily deprived Repsol of the key rights associated with its majority

shares, including the right to appoint those exercising the power of the YPF Board.

See SA165-68; see also, e.g., JA3758-61.

      As the district court explained, before Argentina launched its intervention on

April 16, 2012, Repsol “could use its shares to govern the company and take other


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actions as a shareholder.” SA165; see JA3758-61; JA3847-48, JA3852 (confirming

that before the intervention, “Repsol had the power to select its own CEO and

chairman … as chairman of YPF’s board, because it was the majority shareholder”).

Through the intervention, however, Argentina “as a practical matter, eliminated

Repsol’s ability to do any of these things.” SA166. Once Argentina launched its

intervention, Repsol “could no longer appoint or remove those with the powers of

the Board, as those powers were vested in the government-appointed intervenor,”

and “could not vote its shares at any shareholder meeting … because the intervenor

controlled whether any such meeting was held.” SA166-67 (citation omitted); see

JA3758-61; JA3850-53, JA3859. As this Court previously put it, Argentina “did

indeed exercise the rights of Repsol’s shares” in April 2012, “using them to cancel

YPF’s previously-scheduled dividend payment and [shareholder] meeting.”

Petersen II, 895 F.3d at 203. While Argentina did not take formal title to the shares

on April 16, 2012 through the intervention decree, it unequivocally held at least

indirect control over the shares and the company as of that date.

      Argentine officials likewise “recognized that April 16, 2012 was, for all

practical purposes, the date on which Repsol could no longer use its shares to control

the company.”     SA168-69.     Argentina’s Vice-Intervenor Axel Kicillof openly

declared in a speech to the Argentine Senate on April 17, 2012 that the intervention

had “modified the control that until now belonged to the Repsol group.” SA169


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(brackets omitted) (quoting JA3690). And when Argentina’s federal appraisal

agency, the TTN, appraised the value of the YPF shares that Argentina seized from

Repsol, it appraised them “as of the date on which Repsol was dispossessed, which

the TTN concluded was April 16, 2012.” SA169; see JA3705; JA3766-67; JA3728

(Argentine official explaining that “the taking of possession … was in April 2012”);

JA3732 (head of the TTN panel explaining that the appraisal “was carried out as of

the dispossession date … which was April 16, 2012”).

      The market’s reaction further confirms the point. As the district court noted,

“[t]he market also recognized that an event having material economic significance

had occurred on April 16, 2012,” as “[a]fter the Intervention Decree on April 16,

YPF shares plummeted by over 40%.” SA171; see JA3733; JA3832-33. By

contrast, when Argentina’s formal expropriation law took effect on May 7, 2012,

“YPF shares dipped a mere 3%.” SA171; see JA3733.

      Argentina’s only response is to contend that the intervention gave it

“managerial rights” over YPF on April 16, 2012, but that it only acquired

“shareholder rights” on May 7, 2012. Arg.Br.79. But the question under the Bylaws

is not when Argentina first acquired the ability to vote Repsol’s shares itself, but

when it first “directly or indirectly, by any means … exercise[d] the control of” those

shares. JA674. As the district court correctly understood, Argentina first acquired

that “indirect control” over Repsol’s shares “through the intervention” on April 16,


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2012, when it “took specific actions to prevent Repsol from exercising” the powers

it would otherwise have had as majority shareholder. SA168; see SA165-67.11

        Finally, it bears emphasis that Argentina’s position that it could retake control

of YPF by executive decree without triggering its tender-offer obligation makes no

economic sense.      See JA3821-23.      The Bylaws’ tender-offer provision was a

precommitment that promised investors “a compensated exit from their ownership

position in the firm if Argentina were to decide to renationalize YPF,” and that

investors relied on in deciding to invest $1.1 billion in the company through the

NYSE alone. Petersen II, 895 F.3d at 200; see JA3825-27, JA3831-32. If Argentina

could re-nationalize YPF by executive decree without taking even indirect control

of the shares or triggering its tender-offer obligation—and then extend that executive

decree indefinitely, see JA3855-56—that precommitment would have been illusory.

Argentina’s reading of the Bylaws accordingly fails the financial-markets test: If

Argentina made its view of the Bylaws clear in 1993, no reasonable investor would

have bought YPF shares. See JA3824-27. The district court thus was plainly correct




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      Argentina claims Plaintiffs’ expert Professor Bianchi “admitted” Argentina
took “control over Repsol’s shares” only on May 7, 2012. Arg.Br.79. But as
Professor Bianchi explained at trial, his observation that Argentina “exercised” the
rights of those shares on May 7, 2012, JA330, does not alter that it controlled the
shares on April 16, 2012. See JA3750-51, JA3760-65.

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to conclude that Argentina triggered its tender-offer obligation under the Bylaws on

April 16, 2012, when it issued the intervention decree.

      2. Argentina ends with a single paragraph challenging the prejudgment

interest rate that the district court selected. There is a reason that Argentina spends

so little time on this argument: It agreed below that the rate of prejudgment interest

“is entirely a matter for the Court’s discretion,” SA171, and the district court

explained in detail here why the 8% simple interest rate that it chose was proper, see

SA171-77. That rate is “well within the range imposed by Argentine [c]ourts,” and

reflects “the rate that [Argentina] agreed to in similar circumstances” in negotiating

its payment to Repsol. SA172. That rate is “appropriate and equitable” as well,

particularly in light of Argentina’s deliberate decision “knowingly to violate the

bylaws” and “force Plaintiffs to be its involuntary creditors for a massive amount

over the course of a decade.” SA171-72, 175. Indeed, if Argentina “could not

extract a return exceeding 8% simple interest on [the] massive loan” that it extracted

from Plaintiffs by refusing to meet its Bylaws obligations, then Argentina “has been

a poor steward, and it does not offend equity for it to bear the consequences.”

SA175.

      Argentina makes only one argument in response, asserting that the district

court should have followed the interest rates applied by the Argentine federal

administrative-law courts, which Argentina claims “would have applied an interest


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rate of approximately 0.76%.” Arg.Br.81. But as the district court explained, given

that this case “involves purely commercial obligations,” the more appropriate

comparison is “the commercial rate applied by Argentine courts,” which “is between

6% and 8%.”        SA150-51.     Especially given Argentina’s concession that the

“appropriate rate of interest” under Argentine law is “entirely up to the discretion of

the court considering the question,” SA176, Argentina comes nowhere near showing

that the district court abused its discretion here.

IV.   The District Court Made Only Two Errors In Resolving This Case.
      The district court made only two mistakes in resolving this protracted

litigation: (1) entering judgment for YPF on the claims for YPF’s breach of its own

distinct obligations under the Bylaws, and (2) dismissing the promissory estoppel

claims as duplicative. Those rulings together absolved YPF of any responsibility for

the promises it and Argentina made to investors in the Bylaws and subsequent SEC

filings, eviscerating the commitments that allowed YPF to raise over a billion dollars

from NYSE investors. Through those promises, YPF assured investors that they

would not be stranded as minority shareholders in a state-run enterprise in the event

of a re-nationalization, and that they would have the option of a compensated exit

through a mandatory tender offer if Argentina (or any other shareholder) crossed

specified ownership thresholds. More to the point, those promises guaranteed

shareholders that YPF would deprive any shares acquired in violation of that tender-



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offer requirement of their voting and dividend rights, providing direct and

meaningful enforcement for the tender-offer obligation.        The district court’s

conclusion that those promises did not bind YPF after all—and instead were merely

a passive reflection of what the company believed acquiring shareholders would

voluntarily do—cannot be squared with the text of the Bylaws or the concrete

reliance that investors placed on YPF’s promises.

      A.     The District Court Erred in Granting Summary Judgment for YPF.
      Given Argentina’s long history of political and financial crises, and its

demonstrated tendency toward government intervention in times of economic

turmoil, inducing private investors on the NYSE to invest more than a billion dollars

in YPF’s IPO required more than just promises from Argentina itself. Investors who

knew of Argentina’s “checkered economic past,” JA845, were not likely to rely on

Argentina’s word alone as a sufficient guarantee that they would have a compensated

exit from their investment if the political winds changed and Argentina reverted to

its old habits. Recognizing the problem, Argentina and YPF amended the YPF

Bylaws to include not only a clear (and clearly mandatory) tender-offer obligation,

but also a clear commitment from YPF to enforce that obligation—most

prominently, by promising that any shares acquired without the necessary tender

offer “shall not grant any right to vote or collect dividends … nor shall they be

computed to determine the presence of the quorum” at any shareholders’ meeting.



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JA657 (Bylaws §7(h)). Through that commitment, YPF specifically envisioned the

possibility that Argentina might breach its own tender-offer obligations, and

assumed responsibility to take certain actions in that event. See SA205 (Civil Code

Article 889) (damages are available if the obligor has “assumed responsibility for an

act of … force majeure”); JA1118-19 (person who “obligates himself for a third

party offering performance … is liable in damages if the third party refuses to

perform” (quoting Civil Code Article 1163)). By undertaking that responsibility,

YPF ensured that investors would not have to rely solely on Argentina’s own

promises (or the difficult prospect of suing a foreign sovereign if Argentina breached

those promises), but would instead have the added protection provided by YPF’s

own commitment—as an NYSE-listed, SEC-regulated corporation—to take action

if the tender-offer obligations were disregarded.

      The district court, however, negated those clear promises, holding that the

Bylaws “do not impose an obligation on YPF to enforce” the tender-offer

requirements.    SA107-08.     That holding was plainly incorrect, and squarely

contradicts this Court’s recognition that YPF had a specific contractual “obligation

to enforce the tender offer provision.” Petersen II, 895 F.3d at 210. As this Court

explained almost six years ago in rejecting YPF’s arguments under the FSIA, “every

corporation is obligated to abide by its bylaws,” and YPF accordingly had a

contractual “obligation to enforce the tender offer provision” and “to enforce the


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penalties imposed by section 7(h)” of the Bylaws. Id. That holding continues to

control here, and requires reversal of the district court’s contrary conclusion. See,

e.g., United States v. Peguero, 34 F.4th 143, 158 (2d Cir. 2022) (recognizing the

“longstanding rule” that “a panel of our Court is bound by the decisions of prior

panels”).

      The district court recognized that its decision could not be squared with

Petersen II’s description of YPF’s obligations—but declared itself free to ignore that

part of Petersen II, on the theory that it merely “pertained to Plaintiffs’ allegations”

and was “not a binding conclusion.” SA108. That was error. This Court’s

conclusion that YPF was bound to enforce the bylaws was key to its holding that

YPF was not entitled to FSIA immunity, insofar as YPF’s “failure” to carry out its

contractual obligations “caused a direct effect in the United States, namely, the

required tender for ADRs listed on the NYSE never took place.” Petersen II, 895

F.3d at 210. Nor was that conclusion a mere repetition of Plaintiffs’ allegations; on

the contrary, the Court in Petersen II made clear that it was reviewing de novo the

relevant “legal determinations regarding … subject matter jurisdiction,” id. at 203,

which included YPF’s legal obligations under the Bylaws. This Court’s holding that

YPF owed a contractual “obligation to enforce the tender offer provision”

accordingly controls. Id. at 210; see Havlish v. 650 Fifth Avenue Co., 934 F.3d 174,




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182 (2d Cir. 2019) (applying law-of-the-case doctrine to earlier FSIA jurisdictional

determination).

      That holding is not just controlling, but eminently correct, as YPF’s

contractual obligation to enforce the tender-offer requirements is clear under the

Bylaws’ plain text and Argentine law. Sections 7 and 28 of the Bylaws spell out

specific enforcement obligations in connection with acquisitions of control. Those

provisions not only place unmistakable obligations on the acquiring shareholder—

here, Argentina—to make a tender offer subject to specified pricing formulae, but

expressly contemplate the prospect that the acquiring shareholder will breach its own

obligations to make a compliant tender offer. In that instance, §7(h), applicable to

an acquisition by Argentina through §28(C), provides that acquisitions that violate

the Bylaws “shall not grant any right to vote or collect dividends or other

distributions.” JA657, JA674-75.

      As a matter of common sense and Argentine law, the obligation to enforce

those Bylaws provisions fell on the company itself. See JA951-53; JA1114-15; see

also JA1092 n.23 (recognizing the general principle in Argentine law that “[t]he

Board of Directors must ensure that shareholders comply with the bylaws”).

Sections 7 and 28 are written in mandatory terms, each stating that the tender-offer

provisions “shall apply” and “shall be complied with,” illicit acquisitions “shall be

forbidden,” and sanctions for noncompliance “shall be applied.” JA651-52, JA657,


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JA674-75 (emphasis added); see Maine Cmty. Health Options v. United States, 140

S.Ct. 1308, 1320 (2020) (“The first sign that the statute imposed an obligation is its

mandatory language: ‘shall.’ Unlike the word ‘may,’ which implies discretion, the

word ‘shall’ usually connotes a requirement.”). And the Bylaws expressly grant YPF

the authority to enforce these provisions (and all their other provisions), affording

the Board of Directors “wide powers to organize, conduct and manage the affairs of

the Corporation,” including the overarching authority to “perform all the acts for the

best fulfillment of the corporate purpose.” JA664-67. Nor is there any other entity

that could enforce those mandatory obligations, as it is plainly incumbent on the

company itself and not some other actor to determine which shares are qualified to

vote at shareholder meetings and to receive dividends. YPF’s claim that it had no

obligation to enforce the Bylaws is thus foreclosed by the Bylaws’ plain text.

      The district court nevertheless concluded that because the Bylaws “use [the]

passive voice when establishing the tender offer requirement,” YPF did not have any

contractual obligation to enforce those provisions. SA110. That reading disregards

the basic rule that “every corporation is obligated to abide by its bylaws,” Petersen

II, 895 F.3d at 210, and would unreasonably allow YPF to reap the benefit of billions

of dollars in international investment without incurring any legal obligations. Read

in context, the Bylaws’ use of the passive voice does not leave them “silent as to how

[the tender-offer provisions] are to be enforced,” contra SA110; instead, the use of


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the passive voice reflects the obvious reality that there was no need to specify the

actor, because context made it clear that YPF was the party obligated to strip rights

from shares acquired in contravention of the Bylaws (and the only party that could

do so). See, e.g., Bartenwerfer v. Buckley, 598 U.S. 69, 76 (2023) (recognizing that

“context can confine a passive-voice sentence to a likely set of actors”); E.I. du Pont

de Nemours & Co. v. Train, 430 U.S. 112, 128 (1977) (although statutory provision

“speaks only in the passive voice,” context “leave[s] little doubt” to whom it

applies). Indeed, that would be especially obvious in the case of a non-compliant

acquisition that did not transfer control; if Petersen had not complied with its tender-

offer obligations when it crossed the 15% threshold, it would be clear that YPF

would be obligated under the Bylaws to “not grant any right to vote or collect

dividends or other distributions” to Petersen in conjunction with the non-compliant

shares.   JA657, JA674-75.       As the Bylaws make explicit in §28(C), which

specifically applies §7(h) to acquisitions by Argentina, the result is no different in a

re-nationalization. JA674.

      The district court nevertheless read context in the opposite direction, asserting

that because some other Bylaws provisions use the active voice and specifically

identify the actors subject to different mandatory commands, the passive voice here

“unambiguous[ly]” shows that the Bylaws “impose no affirmative obligation

requiring YPF to enforce [the tender-offer requirements].” SA111-12. But the fact


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that the Bylaws “are careful to specify who owes what obligations and under what

circumstances” elsewhere, SA111-12, only underscores the point: As to these

provisions, the fact that the obligation runs to YPF is so clear from context that any

more explicit statement would be superfluous.

      The district court was untroubled by the fact that under its reading, the Bylaws

do not require anyone to enforce the tender-offer provisions, despite their plainly

mandatory terms. Those provisions “still ha[d] meaningful force,” the district court

concluded, because Plaintiffs could successfully sue Argentina itself for its “failure

to do what the Bylaws unequivocally required it to do.” SA112 (emphasis in

original). But that ignores that §7(h)’s command only kicks in when a recalcitrant

acquirer refuses to honor its obligation to make a tender offer. Rendering §7(h) just

another obligation breached by the acquirer renders the provision toothless. The

whole point of the provision is to impose a distinct obligation on a distinct actor—

namely, YPF—when the acquirer contravenes its obligations. The district court’s

effort to transfer the §7(h) obligation to Argentina also ignores that §7(h) applies

even to acquisition of as little as 15% of YPF’s shares. In those circumstances, it

would be nonsensical to say the responsibility to deny the still-minority shareholder

voting and dividend rights falls on the minority shareholder, rather than YPF.

Section 7(h) operates no differently when the non-compliant shareholder acquires




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control: Whether a shareholder is acquiring 15% or 51% of the company, the

obligation to enforce §7(h) rests on YPF, not the acquiring shareholder itself.

      If there were any remaining doubt, YPF’s own contemporaneous assurances

to investors would resolve it. YPF told investors repeatedly that it would enforce the

Bylaws’ tender-offer obligations both generally and specifically vis-à-vis Argentina.

In its IPO prospectus, YPF assured investors that any person engaging in a control

acquisition “must … make a public tender offer for all outstanding shares” and “will

be required to provide [us] with notice of … any such tender offer,” that the tender

offer “must be carried out in accordance with a procedure specified in the By-laws,”

and that the acquirer “will be obliged to acquire all tendered shares.” JA511-12. As

to acquisitions by Argentina in particular, YPF promised that Argentina “would be

required to make a cash tender offer to all holders of Class D Shares on specified

terms and conditions,” and that “[a]ny Control Acquisition carried out by the

Argentine Government other than in accordance with the procedure described …

will result in the suspension of the voting, dividend and other distribution rights of

the shares so acquired.” JA502, JA513.

      Under Argentine law principles of estoppel, or “actos propios,” those prior

representations bar YPF from now denying its obligations under the Bylaws. See

JA1136 (recognizing that actos propios “prevents a party from bringing a claim that

contradicts their earlier conduct”).    Crediting YPF’s argument that it had no


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obligations whatsoever to enforce the tender-offer requirement would make a

mockery of YPF’s repeated assurances that these provisions would be enforced in

order to raise billions of dollars from private investors. Argentine law accordingly

precludes YPF from recharacterizing its contractual promises in the Bylaws to be

inconsistent with its prior representations.

        B.    The District Court Erred in Dismissing the Promissory Estoppel
              Claims as Duplicative.
        The district court’s only other error in this case came years ago, when it

dismissed Petersen’s promissory estoppel claims against Argentina and YPF.12 The

district court did not dispute that Argentine law recognizes the doctrine of

promissory estoppel; but relying on an out-of-context snippet from one of Petersen’s

experts, Professor Bianchi, the district court concluded that doctrine “is not an

autonomous source of obligation” under Argentine law, and that in any event the

estoppel claims here were “duplicative” because they did not identify any promise

in the prospectus or YPF’s SEC filings “distinct from the obligations imposed by the

Bylaws.” SA46 (emphasis omitted).

        Neither of those conclusions provided an adequate basis for dismissing the

promissory estoppel claims at the pleading stage. As to the former, as YPF’s own



   12
     Eton Park sued after the district court dismissed Petersen’s promissory estoppel
claims, and so did not plead a separate promissory estoppel count, see JA439-44, but
could move to amend its complaint if necessary. See Fed. R. Civ. P. 15(b)(2).

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expert Dr. Kemelmajer recognized, estoppel can provide an autonomous source of

obligation under Argentine law in “the absence of a contractual relationship between

the parties.” JA249. 13 Of course, for all the reasons explained above, the better view

is that both Argentina and YPF were contractually bound by the tender-offer

provisions in the Bylaws, see supra pp.45-62, 81-89, and so there should be no need

to invoke estoppel to hold Argentina and YPF to their recurring promises with

respect to those provisions. But if this Court were to conclude that either Argentina

or YPF was not contractually bound by the tender-offer provisions—as the district

court concluded with respect to YPF—then estoppel should provide an alternative

basis for holding them to their clear and repeated promises. See JA249.

        So too for the district court’s conclusion that the promissory estoppel claims

were duplicative of the contract claims. As this Court has made clear, “if there is ‘a

dispute over the existence, scope, or enforceability of the putative contract,’” then

“a plaintiff may plead … promissory estoppel claims in the alternative” to a breach-

of-contract claim. Goldberg v. Pace Univ., 88 F.4th 204, 214-15 (2d Cir. 2023).

Because Argentina and YPF continue to dispute the existence, scope, and

enforceability of their contractual obligations under the Bylaws, the district court




   13
      It appears Professor Bianchi likewise intended to acknowledge only that
estoppel under Argentine law requires some obligation-creating relationship, which
can be contractual or non-contractual. JA337-38.

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erred in dismissing Petersen’s promissory estoppel claims as duplicative. In fact, the

promises in the prospectus and in YPF’s subsequent SEC filings are if anything even

clearer than the Bylaws themselves, underscoring that any person making a control

acquisition “must … make a public tender offer” and “will be obliged to acquire all

tendered shares,” that the Argentine government in particular “would be required to

make a cash tender offer to all holders of Class D Shares,” and that failing to do so

“will result in the suspension of the voting, dividend, and other distribution rights of

the shares so acquired.” JA502, JA511-13; see JA1429-30; supra pp.13, 88-89.

Those clear and unambiguous promises—on which investors relied to the tune of

billions of dollars—confirm that Argentina and YPF are bound by their repeated

commitments and provide an alternative basis for liability here.




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                                 CONCLUSION

      This Court should affirm the judgment for Plaintiffs against Argentina and

reverse the judgment for YPF and dismissal of the promissory estoppel claims.

                                             Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE
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      I hereby certify that:

      1. This brief complies with the type-volume limitation of Local Rule

28.1.1(b), as enlarged by this Court’s order dated February 7, 2024 (Dkt.57), because

it contains 21,468 words, excluding the parts of the brief exempted by Fed. R. App.

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September 6, 2024

                                             s/Paul D. Clement
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on September 6, 2024, an electronic copy of the

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